           16-11314-mew             Doc 1           Filed 05/06/16 Entered 05/06/16 12:10:42                              Main Document
                                                                 Pg 1 of 91
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Southern
 ____________________              New York
                      District of _________________
                                       (State)
                                                            7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              2 ___
                                           ___ 0 – ___
                                                    2 ___
                                                       5 ___
                                                          8 ___
                                                             7 ___
                                                                1 ___
                                                                   6 ___
                                                                      0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            349 Fifth Avenue
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            4th Floor
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            New York                    NY       10016
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            New York
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.kikidm.com
                                           ____________________________________________________________________________________________________


                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             16-11314-mew               Doc 1     Filed 05/06/16 Entered 05/06/16 12:10:42                                Main Document
                                                               Pg 2 of 91
Debtor           Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                _______________________________________________________                          Case number (if known)_____________________________________
                Name



                                          A. Check one:
7.    Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 4 ___
                                                    8 ___
                                                       1

8.    Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      
                                          x Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                               4/01/19 and every 3 years after that).
                                                           
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           Chapter 12
9.    Were prior bankruptcy cases         
                                          x No
      filed by or against the debtor
      within the last 8 years?             Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10.   Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an              x Yes.
                                                              See Annex A.
                                                    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                      District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________


     Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
           16-11314-mew           Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42                                 Main Document
                                                          Pg 3 of 91
Debtor         Kiki Holdings, LLC d/b/a Kiki de Montparnasse
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this   Check all that apply:
      district?
                                      
                                      x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have     x No
                                      
      possession of any real           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.

                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                  Other _______________________________________________________________________________



                                               Where is the property?_____________________________________________________________________
                                                                         Number          Street

                                                                         ____________________________________________________________________

                                                                         _______________________________________         _______     ________________
                                                                         City                                            State       ZIP Code


                                               Is the property insured?
                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________

                                                        Contact name     ____________________________________________________________________

                                                        Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of          Check one:
      available funds                 
                                      x Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of              50-99                           5,001-10,000                             50,001-100,000
      creditors
                                       100-199                         10,001-25,000                            More than 100,000
                                      x 200-999
                                      

                                       $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                 $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                       $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                      x $500,001-$1 million
                                                                       $100,000,001-$500 million                More than $50 billion



  Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           16-11314-mew            Doc 1           Filed 05/06/16 Entered 05/06/16 12:10:42                                       Main Document
                                                                Pg 4 of 91

Debtor          Kiki Holdings, LLC d/b/a Kiki de Montparnasse                                      Case num ber N •nown)_ _ _ _ _ _ _ _ _ _ _ _ __
               Nar'Jie



                                        0   $0-$50,000                         0   $1,000,001 -$10 million                    0   $500,000,001-$1 billion
16.   Estimated liabilities             0   $50,001-$100,000                   (jil $10,000,001-$50 million                   0   $1 ,000,000,001-$10 billion
                                        0   $100,001-$500,000                  0   $50,000,001-$100 million                   0   $10,000,000,001-$50 billion
                                        0   $500,001-$1 million                0   $100,000 ,001-$500 million                 0   More than $50 billion




            Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571 .


11.   Declaration and signature of      •    The debtor requests relief in accordance with the chapter of title 11 , United States Code, specified in this
      authorized representative of
                                             petition .
      debtor
                                        •    I have been authorized to file this petition on behalf of the debtor.

                                        •    I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.



                                                    Q
                                            Executed on     OS /o 6ha16
                                                            MM I ODNYYY

                                        x ~we/\
                                            Signature of authorized representative of debtor                 Printed name


                                            Title   Authorized Representative




18.   Signature of attorney             X      Is/ Chester B. Salomon                                        Date        05/06/2016
                                            Signature of attorney for debtor                                             MM       / 00 / YYYY



                                            Chester B. Salomon
                                            Prin ted name
                                             Becker, Glynn, Muffly, Chassin & Hosinski LLP
                                            Firm name
                                             299 Park Avenue
                                            Number          Street
                                            New York                                                                NY              10171
                                            City                                                                State              ZIP Code

                                            (212) 888-3033                                                          csalomon@beckerglynn.com
                                            Contact phone                                                       Email address



                                            1439116                                                                 NY
                                            Bar number                                                          State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
           16-11314-mew   Doc 1     Filed 05/06/16 Entered 05/06/16 12:10:42       Main Document
                                                 Pg 5 of 91



                                                   Annex A
                                    Affiliate Bankruptcy Cases To Be Filed



                    Debtor                   District                   Relationship
                 Kiki LA, LLC     Southern District of New York   Wholly-owned subsidiary.


                 Kiki LV, LLC     Southern District of New York   Wholly-owned subsidiary.




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          16-11314-mew                      Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42                           Main Document
                                                                    Pg 6 of 91

  Fill in this information to identify the case and this filing:


  Debtor Name     Kiki Holdings, LLC d/b/a Kiki de Montparnasse
  United States Bankruptcy Court for the:   Southern                District of    New York
                                            ----------                            (State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING-- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         []     Schedule AlB: Assets-Real and Personal Property (Official Form 206A/B)

         l!l    ScheduleD: Creditors Who Have Claims Secured by Property (Official Form 2060)

         l!l    Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         l!l    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         1!1    Schedule H: Codebtors (Official Form 206H)

         1[1 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         0      Amended Schedule


         0      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         1!1    Other document that requires a declaration._L_is_t_o_f_C_r_
                                                                          ed_l_·t_o_
                                                                                   r s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         I declare under penalty of perjury that the foregoing is true and correcf l


         Executed on        5I   6/ I b                     x __----41\r\
                                                                       ~r{)#-'~l¢"d?h
                                                                              ~'---+---_____:__s+-;_ _ __
                        MM I DD I YYYY                          Signature of individual signing on behalf of debtor



                                                                Ocal Serdar
                                                                Printed name

                                                                Authorized Representative
                                                                Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
            16-11314-mew                 Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                             Main Document
                                                                   Pg 7 of 91
  Fill in this information to identify the case:

               Kiki Holdings, LLC d/b/a Kiki de Montparnasse
  Debtor name __________________________________________________________________

                                          Southern District
  United States Bankruptcy Court for the:_______________________               NY
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   x
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________
                                                                                                                                    0


3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
         City National Bank
   3.1. _________________________________________________  Checking
                                                          ______________________                1
                                                                                               ____  9
                                                                                                    ____    7 ____
                                                                                                         ____   6                   1,642.52
                                                                                                                                  $______________________
   3.2. _________________________________________________
         JP Morgan Chase NA                                 Checking
                                                          ______________________                 8
                                                                                               ____  0
                                                                                                    ____  6
                                                                                                         ____   5
                                                                                                              ____                $______________________
                                                                                                                                    77.41


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                  1,719.93
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
   
   x      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
         Deposit for Los Angeles retail location, leased by subsidiary Kiki LA, LLC, and held by Park Lane Acquisitions, LLC.
   7.1. ________________________________________________________________________________________________________                    40,000
                                                                                                                                   $______________________
        Deposit for Las Vegas retail location, leased by subsidiary Kiki LV, LLC and held by The Crystals at CityCenter, LLC
   7.2._________________________________________________________________________________________________________                     41,250
                                                                                                                                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
           16-11314-mew                 Doc 1            Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
Debtor         Kiki Holdings, LLC d/b/a Kiki de Montparnasse
               _______________________________________________________Pg 8 of 91   Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   81,250
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    x Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:      $46,647.47
                                 ____________________________ – ___________________________          = ........ Î                 46,647.47
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:          $38,712.53
                                  ___________________________    $13,032.28
                                                              – ___________________________          = ........ Î                  25,689.25
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                72,327.72
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
    
    x Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
         Kiki LA, LLC
   15.1._______________________________________________________________             100
                                                                                   ________%            _____________________      Undetermined
                                                                                                                                 $________________________
          Kiki LV, LLC
   15.2._______________________________________________________________              100
                                                                                   ________%            _____________________      Undetermined
                                                                                                                                 $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________




17. Total of Part 4                                                                                                                Undetermined
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                              page 2
           16-11314-mew              Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
Debtor          Kiki Holdings, LLC d/b/a Kiki de Montparnasse  Pg 9 of 91
                _______________________________________________________     Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
    
    x Yes. Fill in the information below.


     General description                            Date of the last      Net book value of     Valuation method used     Current value of
                                                    physical inventory    debtor's interest     for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
    Fabric, trim, etc.                               03/01/2015
                                                    ______________                               Cost                     136,517.00
   ________________________________________                               136,517.00
                                                                         $__________________    ______________________   $______________________
                                                    MM / DD / YYYY

20. Work in progress
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
    Retail goods.                               03/01/2015
                                               ______________                                    Cost
   ________________________________________                                 421,475.00
                                                                          $__________________   ______________________    421,475.00
                                                                                                                         $______________________
                                                    MM / DD / YYYY

22. Other inventory or supplies
    Branded packaging                               03/01/2015
                                                    ______________                               Cost                     34,108.67
   ________________________________________                               34,108.67
                                                                         $__________________    ______________________   $______________________
                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                        592,100.67
                                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    x No

         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    
    x     No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    
    x No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    x No. Go to Part 7.

     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used     Current value of debtor’s
                                                                          debtor's interest     for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                           page 3
           16-11314-mew               Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
Debtor          Kiki Holdings, LLC d/b/a Kiki de Montparnasse  Pg 10 of 91
               _______________________________________________________       Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    x Yes. Fill in the information below.


   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
    Office and retail furniture and fixtures.
   ______________________________________________________________               242,042.86
                                                                               $________________    Estimate
                                                                                                   ____________________      242,042.86
                                                                                                                            $______________________

40. Office fixtures
   Miscellaneous office fixtures held off-premises.
   ______________________________________________________________                Undetermined
                                                                               $________________   ____________________      Undetermined
                                                                                                                            $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    Software and computer equipment.
   ______________________________________________________________               125,913.52
                                                                               $________________    Estimate
                                                                                                   ____________________      125,913.52
                                                                                                                            $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                              367,956.38
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
    
    x Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    x No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
           16-11314-mew              Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
 Debtor          Kiki Holdings, LLC d/b/a Kiki de MontparnassePg 11 of 91
                _______________________________________________________     Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    x No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
           16-11314-mew                 Doc 1         Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
Debtor           Kiki Holdings, LLC d/b/a Kiki de Montparnasse    Pg 12 of 91
                _______________________________________________________         Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    
    x No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    x Yes. Fill in the information below.

   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
                                                                                    Undetermined                                  Undetermined
    Trademark (Kiki de Montparnasse)
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
     Domain name
    ______________________________________________________________                  Undetermined
                                                                                  $_________________   ______________________     Undetermined
                                                                                                                                 $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
     Active customer list/e-mail list
    ______________________________________________________________                  Undetermined
                                                                                  $_________________   ______________________      Undetermined
                                                                                                                                 $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                             Undetermined
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
             16-11314-mew                   Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
Debtor           Kiki Holdings, LLC d/b/a Kiki de Montparnasse     Pg 13 of 91
                _______________________________________________________          Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
    
    x    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    x    No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    x No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    x     Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                     _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
     Commercial liability insurance.
    ______________________________________________________________                                                                     0
                                                                                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________

78. Total of Part 11.
                                                                                                                                       0
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    x    No
        Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
             16-11314-mew                       Doc 1            Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
Debtor             Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                  _______________________________________________________    Pg 14 of 91   Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                           1,719.93
                                                                                                         $_______________

                                                                                                           81,250
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.


82. Accounts receivable. Copy line 12, Part 3.                                                             72,327.72
                                                                                                         $_______________


83. Investments. Copy line 17, Part 4.
                                                                                                           Undetermined
                                                                                                         $_______________


84. Inventory. Copy line 23, Part 5.
                                                                                                           592,100.67
                                                                                                         $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.
                                                                                                           0
                                                                                                         $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                           367,956.38
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                                          0
                                                                                                         $_______________

                                                                                                                                                   0
88. Real property. Copy line 56, Part 9. . ..................................................................................... Î              $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.
                                                                                                           Undetermined
                                                                                                         $_______________


90. All other assets. Copy line 78, Part 11.                                                        +      0
                                                                                                         $_______________


                                                                                                                                                   0
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                      1,115,354.70
                                                                                                         $_______________            +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................      1,115,354.70
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
             16-11314-mew                      Doc 1            Filed 05/06/16 Entered 05/06/16 12:10:42                                   Main Document
                                                                            Pg 15 of 91
  Fill in this information to identify the case:

                 Kiki Holdings, LLC d/b/a Kiki de Montparnasse
  Debtor name __________________________________________________________________
                                           Southern
  United States Bankruptcy Court for the: ______________________              New York
                                                                 District of _________
                                                                                          (State)

  Case number (If known):      _________________________
                                                                                                                                                        Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    x Yes. Fill in all of the information below.
    
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                  Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                   Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Park Lane Acquisitions, LLC
     __________________________________________ The debtor guaranteed the lease of the store of the   Unknown                                               40,000
                                                ___________________________________________________ $__________________                                   $_________________

    Creditor’s mailing address                                   Los Angeles subsidiary and paid the security deposit.
                                                                 ___________________________________________________
     11301 Olympic Blvd. #206                                     ___________________________________________________
     ________________________________________________________

      Los Angeles, California 90064
     ________________________________________________________    Describe the lien
                                                                  __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                  
                                                                  x   No
                                                                     Yes

    Date debt was incurred January 20, 2012
                           __________________                     Is anyone else liable on this claim?
                                                                     No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                  
                                                                  x   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.
    
    x No
                                                                     Contingent
     Yes. Specify each creditor, including this creditor,           Unliquidated
             and its relative priority.                              Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                             Describe debtor’s property that is subject to a lien
     The Crystals at CityCenter LLC
     __________________________________________                                                        Unknown                                              41,250
                                                The debtor guaranteed the lease of the store of the
                                                 ___________________________________________________ $__________________                                  $_________________

    Creditor’s mailing address                                   Las Vegas subsidiary and paid the security deposit.
                                                                  ___________________________________________________
     PO   Box 77712
     ________________________________________________________     ___________________________________________________
     Las  Vegas, NV 89177
     ________________________________________________________    Describe the lien
                                                                  __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                  
                                                                  x   No
                                                                     Yes
                           August 14, 2009
    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                     No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                  
                                                                  x   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

     No                                                             Contingent
     Yes. Have you already specified the relative                   Unliquidated
             priority?                                               Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     36,915.60
                                                                                                                                   $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                          2
                                                                                                                                                             page 1 of ___
               16-11314-mew                     Doc 1           Filed 05/06/16 Entered 05/06/16 12:10:42 Main Document
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
  Debtor           _______________________________________________________
                   Name
                                                                            Pg 16 of 91   Case number (if known)_____________________________________



                                                                                                                                  Column A                Column B
 Part 1:        Additional Page                                                                                                   Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  3 Creditor’s name
2._                                                               Describe debtor’s property that is subject to a lien
     Bobby Wei
     __________________________________________                    Raw materials held in production facility.
                                                                  ___________________________________________________
                                                                                                                                   23,664.35
                                                                                                                                  $__________________       Unknown
                                                                                                                                                          $_________________
                                                                  ___________________________________________________
    Creditor’s mailing address
                                                                  ___________________________________________________
     270 W 39th Street, 13th Floor
     ________________________________________________________

     New York, NY 10018
     ________________________________________________________     Describe the lien
                                                                   __________________________________________________

    Creditor’s email address, if known                            Is the creditor an insider or related party?
                                                                  x
                                                                     No
     _________________________________________
                                                                     Yes


                            1/15/2016
    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                  
                                                                  x   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

    
    x No                                                          
                                                                  x   Contingent
     Yes. Have you already specified the relative                
                                                                  x   Unliquidated
               priority?                                          
                                                                  x   Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


  4 Creditor’s name
2._                                                               Describe debtor’s property that is subject to a lien

     Cycle Fashion Pattern, Inc.
     __________________________________________                    Raw materials held in production facility.
                                                                  ___________________________________________________
                                                                                                                                    13,251.25
                                                                                                                                  $__________________       Unknown
                                                                                                                                                          $_________________
    Creditor’s mailing address                                    ___________________________________________________

                                                                  ___________________________________________________
      306 W 37th Street, 2nd Floor
     ________________________________________________________

     New York, NY 10018
     ________________________________________________________     Describe the lien
                                                                   __________________________________________________

    Creditor’s email address, if known                            Is the creditor an insider or related party?
     _________________________________________
                                                                  
                                                                  x   No
                                                                     Yes
                           2/16-4/16
    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                  
                                                                  x   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

    
    x No                                                          
                                                                  x   Contingent
     Yes. Have you already specified the relative                
                                                                  x   Unliquidated
               priority?                                          
                                                                  x   Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___    2
                                                                                                                                                                   2 of ___
                 16-11314-mew                  Doc 1           Filed 05/06/16 Entered 05/06/16 12:10:42                                 Main Document
   Fill in this information to identify the case:                          Pg 17 of 91

   Debtor
                    Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                    __________________________________________________________________
                                                    Southern
   United States Bankruptcy Court for the: ______________________ District of __________                NY
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    x    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________
                                                                                                                           228,991.70              228,991.70
                                                                                                                                                  $_________________
    NYC     Department of Finance CRT
    __________________________________________________________________    Check all that apply.
    Tax Audit & Enforcement Division
    ___________________________________________                              Contingent
                                                                             Unliquidated
    PO  Box 3929, New York, NY 10008 
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                        Basis for the claim:
    03/18/2016                                                            __________________________________
                                                                           Commercial rent taxes.
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           x No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                                 8
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________
                                                                                                                         3,488.00                  3,488.00
                                                                                                                                                  $_________________
   Young        Trimming, Inc.
    __________________________________________________________________ Check all that apply.
   327     W 36th Street, Room 6F
    ___________________________________________                        
                                                                       x Contingent
                                                                       
                                                                       x Unliquidated
   New     York, New York 10018
    ___________________________________________                        
                                                                       x Disputed

    Date or dates debt was incurred                                        Basis for the claim:
                                                                          Labor.
                                                                          __________________________________
    12/2015-03/2016
    _________________________________

    Last 4 digits of account                                               Is the claim subject to offset?
    number      ___ ___ ___ ___                                             No
                                                                         x  Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________
                                                                                                                          667.00                    667.00
                                                                                                                                                  $_________________
   Create         A Marker, Inc.
    __________________________________________________________________ Check all that apply.
   254     W 35th Street, 10th Floor
   ___________________________________________                         
                                                                       x Contingent
                                                                       
                                                                       x Unliquidated
   New     York, New York 10001
   ___________________________________________                         
                                                                       x Disputed
    Date or dates debt was incurred                                        Basis for the claim:
    02-03/2016                                                            Labor.
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           x No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    27
                                                                                                                                                       page 1 of ___
                16-11314-mew
                  Kiki Holdings, Doc         1 Filed
                                       LLC d/b/a     Kiki05/06/16         Entered 05/06/16 12:10:42 Main Document
                                                            de Montparnasse
  Debtor          _______________________________________________________            Case number (if known)_____________________________________
                  Name                                             Pg 18 of 91
 Part 1.        Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                               Total claim              Priority amount



2._4    Priority creditor’s name and mailing address                                                                          45.00                     45.00
                                                                                                                             $______________________   $_________________
                                                                             As of the petition filing date, the claim is:
                                                                             Check all that apply.
         Create-A-Copy, Inc.                        
                                                    x                            Contingent
         _________________________________________________________________
        254   W  35th   Street,    10th    Floor    
                                                    x                            Unliquidated
        ___________________________________________ 
                                                    x                            Disputed
        New York, New York 10001
        ___________________________________________
        Date or dates debt was incurred                                      Basis for the claim:
         03/20/2016                                                          Labor.
                                                                             __________________________________
        _________________________________

        Last 4 digits of account                                             Is the claim subject to offset?
        number      ___ ___ ___ ___                                          x No
                                                                              Yes
        Specify Code subsection of PRIORITY unsecured
                                     4
        claim: 11 U.S.C. § 507(a) (_____)


2._     Priority creditor’s name and mailing address
                                                                                                                             $______________________   $_________________
                                                                             As of the petition filing date, the claim is:
                                                                             Check all that apply.
                                                                                Contingent
                                                                             
         _________________________________________________________________
                                                                                 Unliquidated
        ___________________________________________                             Disputed
        ___________________________________________
        Date or dates debt was incurred                                       Basis for the claim:
                                                                             __________________________________
        _________________________________

        Last 4 digits of account                                             Is the claim subject to offset?
        number      ___ ___ ___ ___                                           No
                                                                              Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)

2._     Priority creditor’s name and mailing address
                                                                                                                             $______________________   $_________________
                                                                             As of the petition filing date, the claim is:
                                                                             Check all that apply.
         _________________________________________________________________      Contingent
        ___________________________________________
                                                                                Unliquidated
                                                                                Disputed
        ___________________________________________
        Date or dates debt was incurred                                       Basis for the claim:
                                                                             __________________________________
        _________________________________
        Last 4 digits of account                                             Is the claim subject to offset?
        number      ___ ___ ___ ___                                           No
                                                                              Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)

2._     Priority creditor’s name and mailing address
                                                                             As of the petition filing date, the claim is: $______________________     $_________________
                                                                             Check all that apply.
         _________________________________________________________________      Contingent
        ___________________________________________                             Unliquidated
                                                                                Disputed
        ___________________________________________
        Date or dates debt was incurred                                       Basis for the claim:
                                                                             __________________________________
        _________________________________

        Last 4 digits of account                                             Is the claim subject to offset?
        number      ___ ___ ___ ___                                           No
                                                                              Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __   27
                                                                                                                                                                         2 of ___
            16-11314-mew
             Kiki   Holdings, Doc  LLC 1 d/b/aFiled   05/06/16
                                                   Kiki               Entered 05/06/16 12:10:42 Main Document
                                                          de Montparnasse
  Debtor      _______________________________________________________            Case number (if known)_____________________________________
              Name                                             Pg 19 of 91
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                              475.52
                                                                                                                           $________________________________
    Active Staffing
    ____________________________________________________________
                                                                              Contingent
     41  W  33rd    Street                                                    Unliquidated
    ____________________________________________________________              Disputed
    New York, New York 10001
    ____________________________________________________________
                                                                                                 Services Provided
                                                                           Basis for the claim: ________________________

                                                                           Is the claim subject to offset?
    Date or dates debt was incurred            01/10/2016
                                               ___________________
                                                                           
                                                                           x   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                              186.14
                                                                                                                           $________________________________
    ADT Security Services
    ____________________________________________________________
                                                                              Contingent
    PO   Box   371878                                                         Unliquidated
    ____________________________________________________________              Disputed
    Pittsburgh, Pennsylvania 15250-7878
    ____________________________________________________________
                                                                                                 Services Provided
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            03/19/2016
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           x   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             12137.50
                                                                                                                           $________________________________
     Akabas & Sproule
    ____________________________________________________________
                                                                              Contingent
     488 Madison Avenue, 11th Floor                                           Unliquidated
    ____________________________________________________________              Disputed
     New York, New York 10022
    ____________________________________________________________
                                                                                                 Services Provided
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred           11/2015-02/2016
                                              ___________________          Is the claim subject to offset?
                                                                           
                                                                           x   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             302.50
                                                                                                                           $________________________________
    Armor Jewelry
    ____________________________________________________________
                                                                              Contingent
     111 Kent Avenue, #1A                                                     Unliquidated
    ____________________________________________________________              Disputed
    Brooklyn, New York 11249
    ____________________________________________________________
                                                                                                 Goods Provided
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             06/09/2011
                                               ___________________         Is the claim subject to offset?
                                                                           x
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                              581.51
                                                                                                                           $________________________________
     Beer-Stern Company
    ____________________________________________________________
                                                                              Contingent
     PO Box 155
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    West Sayville, New York 11796
    ____________________________________________________________
                                                                                                 Goods Provided
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             07/10/2015
                                               ___________________         Is the claim subject to offset?
                                                                           x
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                              5390.00
                                                                                                                           $________________________________
     Berke-Weiss & Pechman LLP
    ____________________________________________________________
                                                                              Contingent
     488 Madison Avenue, 11th Floor
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    New York, New York 10022
    ____________________________________________________________
                                                                                                 Services Provided
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred          03-09/2016
                                              ___________________          Is the claim subject to offset?
                                                                           x
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __   27
                                                                                                                                                       3 of ___
            16-11314-mew
             Kiki   Holdings, Doc  LLC 1d/b/a Filed   05/06/16
                                                   Kiki               Entered 05/06/16 12:10:42 Main Document
                                                          de Montparnasse
  Debtor      _______________________________________________________            Case number (if known)_____________________________________
              Name                                             Pg 20 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:    80.98
                                                                   Check all that apply.                           $________________________________
     XYZ Two Way Radio Service, Inc.
     ___________________________________________________________      Contingent
                                                                      Unliquidated
     PO Box 159033                                                    Disputed
     ___________________________________________________________   x
                                                                      Liquidated and neither contingent nor
     Brooklyn,      New York 11215
     ___________________________________________________________       disputed
                                                                                           Services Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred
                                             02/17/2016
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     446.61
                                                                                                                   $________________________________
       Bossa T.A.S.
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      Guzelevler Mah. Girne Bulvari No:296
     ___________________________________________________________      Disputed
      01310 Yuregir/Adana - TURKIYE
     ___________________________________________________________
                                                                                         Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         01/2013
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                      218.35
                                                                                                                   $________________________________
     Bottonificio BAP SPA
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     Via Gennaro Sora 16/A
     ___________________________________________________________      Disputed
     24060 Villongo (Bergamo) ITALY
     ___________________________________________________________
                                                                                        Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         01/13/2015
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

 10 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                       1073.38
                                                                                                                   $________________________________
     Bucol
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      4-6 rue Marius Chardon
     ___________________________________________________________      Disputed
      F-69310 PIERRE BENITE
     ___________________________________________________________
                                                                                         Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred          09/01/2015
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     3133.72
                                                                                                                   $________________________________
      By Kilian
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      60 Broad Street, Suite 3502
     ___________________________________________________________      Disputed
     New York, New York 10004
     ___________________________________________________________
                                                                                         Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred
                                           07/2012-11/2015
                                            ___________________    Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page __    27
                                                                                                                                               4 of ___
            16-11314-mew
              Kiki Holdings,Doc      LLC1 d/b/a
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                                                      05/06/16        Entered 05/06/16 12:10:42 Main Document
                                                            de Montparnasse
  Debtor      _______________________________________________________            Case number (if known)_____________________________________
              Name                                             Pg 21 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 12 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                   Check all that apply.                              6501.78
                                                                                                                   $________________________________
      Cadolle Diffusion
     ___________________________________________________________      Contingent
                                                                      Unliquidated
                                                                      Disputed
      255   rue   Saint    Honore
     ___________________________________________________________      Liquidated and neither contingent nor
      75001 Paris, FRANCE
     ___________________________________________________________       disputed

                                                                                        Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred          06-09/2015
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  13 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     14599.85
                                                                                                                   $________________________________
      Calamo Silk, Inc.
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      251 W 39th Street, 5th Floor
     ___________________________________________________________      Disputed
      New York, New York 10018
     ___________________________________________________________
                                                                                         Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred       07/2015-04/2016
                                            ___________________    Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


 14 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                      2100.66
                                                                                                                   $________________________________
     Cheynet & Fils
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     Route du Fau- B.P.7
     ___________________________________________________________      Disputed
     Saint-Just-Malmont           FRANCE
     ___________________________________________________________
                                                                                        Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred          09/01/2015
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

 15 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                      13000.00
                                                                                                                   $________________________________
       Clique Media Inc.
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
      360 N La Cienega Blvd., 3rd Floor - B
     ___________________________________________________________      Disputed
      Los Angeles, California 90048
     ___________________________________________________________
                                                                                         Services Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred          09/01/2015
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



 16 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     1551.33
                                                                                                                   $________________________________
      Consolidated Edison
     ___________________________________________________________
                                                                      Contingent
     JAF Station                                                      Unliquidated
     PO Box 1702
     ___________________________________________________________      Disputed
     New York, New York 10116-1702
     ___________________________________________________________
                                                                                         Services Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         01/2016
                                             ___________________   Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page __   27
                                                                                                                                               5 of ___
           16-11314-mew
             Kiki Holdings,Doc      LLC1d/b/aFiledKiki
                                                     05/06/16        Entered 05/06/16 12:10:42 Main Document
                                                           de Montparnasse
  Debtor     _______________________________________________________            Case number (if known)_____________________________________
             Name                                             Pg 22 of 91
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 17 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                   Check all that apply.                             1500.34
                                                                                                                   $________________________________
     Crave    - Incoqnito
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     1234    Folsom     Street
                                                                       Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
     San Francisco, California 94103
     ___________________________________________________________        disputed

                                                                                         Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        04/30/2015
                                            ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number        ___ ___ ___ ___            Yes


 18 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:      300.00
      William J. Pierce IV                                         Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
     171 W 133rd Street, #3B                                           Unliquidated
     ___________________________________________________________       Disputed
     New York, New York 10030
     ___________________________________________________________
                                                                                         Services provided.
                                                                   Basis for the claim: ________________________
                                              09/09/2014
     Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                   
                                                                   x    No
     Last 4 digits of account number        ___ ___ ___ ___            Yes


 19 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     1,500.00
                                                                                                                   $________________________________
      NYS Department of Taxation & Finance
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     PO Box 4127
     ___________________________________________________________       Disputed
     Binghamton, NY 13902-4127
     ___________________________________________________________
                                                                                        LLC fees.
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        3/4/2016
                                            ___________________    Is the claim subject to offset?
                                                                   x
                                                                       No
     Last 4 digits of account number        ___ ___ ___ ___            Yes

 20 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     13193.13
                                                                   Check all that apply.                           $________________________________
      Xt Services
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     350 Market Street, Suite 5
     ___________________________________________________________       Disputed
     Saddle Brook, New Jersey 07663
     ___________________________________________________________
                                                                                         Services Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred      07/2015-03/2016
                                           ___________________     Is the claim subject to offset?
                                                                   x
                                                                       No
     Last 4 digits of account number        ___ ___ ___ ___            Yes



 21 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                                                                     600.00
                                                                                                                   $________________________________
      DKL Services, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      529 W Broadway, Suite 1C
     ___________________________________________________________       Disputed
      New York, New York 11561
     ___________________________________________________________
                                                                                        Services Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred        03/01/2016
                                            ___________________    Is the claim subject to offset?
                                                                   x   No
     Last 4 digits of account number        ___ ___ ___ ___            Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6      27
                                                                                                                                               __ of ___
            16-11314-mew
           Kiki            Docd/b/a
                Holdings, LLC  1 Filed
                                    Kiki05/06/16 Entered
                                         de Montparnasse                                05/06/16 12:10:42            Main Document
  Debtor       _______________________________________________________                      Case number (if known)_____________________________________
               Name                                                Pg 23 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 22 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                             576.00
                                                                                                                    $________________________________
     E. Bosselli & C.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     Via    Carducci,      11
     ___________________________________________________________       Liquidated and neither contingent nor
      22077 OLGIATE COMASCO (COMO) ITALY
     ___________________________________________________________        disputed

                                                                                         Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          02/01/2016
                                             ___________________    Is the claim subject to offset?
                                                                    x
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 23 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                       36173.52
                                                                                                                    $________________________________
      E.R.Butler & Co
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     55 Prince Street
     ___________________________________________________________       Disputed
      New York, New York 10012
     ___________________________________________________________
                                                                                         Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred      03/2013-02/2016
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 24 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2676.68
                                                                                                                    $________________________________
      Eastern Silk Mills Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      148 W 37th Street, 3rd Floor
     ___________________________________________________________       Disputed
      New York, New York 10018
     ___________________________________________________________
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________
                                                                    Is the claim subject to offset?
     Date or dates debt was incurred         01-03/2016
                                             ___________________
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  25 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      3351.18
                                                                    Check all that apply.                           $________________________________
      ExactTarget, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      26487 Network Place
     ___________________________________________________________       Disputed
     Chicago, Illinois 60673-1264
     ___________________________________________________________
                                                                                          Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred       11/2015-02/2016
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



 26 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      90.00
                                                                                                                    $________________________________
     Exl Ac & Refrigeration
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      53-43 66th Street
     ___________________________________________________________       Disputed
      Maspeth, NY 11378
     ___________________________________________________________
                                                                                          Goods/Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          04/08/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  7 of ___
                                                                                                                                             page __    27
            16-11314-mew
           Kiki  Holdings, LLC     Doc   1 Filed
                                      d/b/a     Kiki05/06/16
                                                       de MontparnasseEntered           05/06/16 12:10:42            Main Document
  Debtor      _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 24 of 91
 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  27 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                             475.00
                                                                                                                    $________________________________
      Farameh Media, LLC
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
      217   Thompson      Street,     308
     ___________________________________________________________        Liquidated and neither contingent nor
      New York, New York 10012
     ___________________________________________________________         disputed

                                                                                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         10/16/2013
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


 28 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      1502.53
                                                                                                                    $________________________________
     FedEx
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     PO Box 371461
     ___________________________________________________________        Disputed
      Pittsburgh, Pennsylvania 15250-7461
     ___________________________________________________________
                                                                                         Services Provided
                                                                    Basis for the claim: ________________________
                                             03-04/2016             Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


 29 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                             500.00
                                                                                                                    $________________________________
      Ferny Chung
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      50-17 5th Street, Apartment 2B
     ___________________________________________________________        Disputed
      Long   Island     City,     New   York   11101
     ___________________________________________________________
                                                                                         Services provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          09/10/2014
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes

  30 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2910.23
                                                                                                                    $________________________________
      Finest Technical Group Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     112 Katan Avenue
     ___________________________________________________________        Disputed
     Staten Island, New York 10308
     ___________________________________________________________
                                                                                          Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred       12/2014-11/2015
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes



  31 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                             2007.09
                                                                                                                    $________________________________
      Fleck & Co. GmbH
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     PO Box 436
     ___________________________________________________________        Disputed
     Glen Falls, New York 12801
     ___________________________________________________________
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          05/14/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  8 of ___
                                                                                                                                             page __    27
            16-11314-mew
           Kiki  Holdings, LLC     Doc   1 Filed
                                       d/b/a    Kiki05/06/16          Entered
                                                        de Montparnasse                 05/06/16 12:10:42            Main Document
  Debtor      _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 25 of 91
 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  32 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.                             4589.78
                                                                                                                    $________________________________
     Fourthfloor Fashion Talent
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
      10100 Santa Monica Blvd, Suite 900
     ___________________________________________________________    
                                                                    x   Liquidated and neither contingent nor
      Los Angeles, California 90067-4100
     ___________________________________________________________        disputed

                                                                                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred        07-08/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  33 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                       888.00
                                                                                                                    $________________________________
      G & G Cleaners
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      46 Grand Street
     ___________________________________________________________       Disputed
      New York, New York 10012
     ___________________________________________________________
                                                                                          Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred       06/2015-01/2016
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  34 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      1605.91
                                                                                                                    $________________________________
      GC H.V.A.C. Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
      96 Bismark Avenue
     ___________________________________________________________       Disputed
      Valley Stream, New York 11581
     ___________________________________________________________
                                                                                          Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         02/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  35 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      2744.00
                                                                    Check all that apply.                           $________________________________
     GFI Insurance Services
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     140 Broadway, 41st Floor
     ___________________________________________________________       Disputed
      New York, New York 10005
     ___________________________________________________________
                                                                                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         07/21/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



 36 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:     1124.25
                                                                                                                    $________________________________
     GNN Transportation Services, LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
     436 B Lawton Avenue                                               Unliquidated
     ___________________________________________________________       Disputed
     Cliffside Park, New Jersey 07010
     ___________________________________________________________
                                                                                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               03-04/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  9 of ___
                                                                                                                                             page __    27
            16-11314-mew
           Kiki  Holdings, LLC     Docd/b/a
                                         1 FiledKiki05/06/16          Entered
                                                        de Montparnasse                 05/06/16 12:10:42             Main Document
  Debtor      _______________________________________________________                        Case number (if known)_____________________________________
               Name                                                Pg 26 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  37 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                       297.75
                                                                                                                     $________________________________
     Graphic Image, Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     305 Spagnoli Road                                                 Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
     Melville, New York 11747
     ___________________________________________________________        disputed
                                                                                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           07/22/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  38 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      220.70
                                                                 Check all that apply.                               $________________________________
     Guardian
     ___________________________________________________________
                                                                  Contingent
     State Mandated Disability                                    Unliquidated
       PO  Box   824418
     ___________________________________________________________  Disputed
     Philadelphia,         Pennsylvania 19182-4418
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               03/18/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 39 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:       250.00
                                                                    Check all that apply.                            $________________________________
     Guide    Fabrics
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     262   W  38th    Street
     ___________________________________________________________       Disputed
     New   York, New York 10018
     ___________________________________________________________
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred            01/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  40 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      881.40
                                                                    Check all that apply.                            $________________________________
     H2 Business Management, LLC
     ___________________________________________________________
                                                                       Contingent
     201 Santa Monica Blvd, #480                                       Unliquidated
     ___________________________________________________________       Disputed
     Santa Monica, California 90401
     ___________________________________________________________
                                                                                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred       05/2015-02/2016
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



 41 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      220.00
                                                                    Check all that apply.                            $________________________________
     Heather Huey
     ___________________________________________________________
                                                                       Contingent
     1684 Gates Avenue, 2nd Floor                                      Unliquidated
     ___________________________________________________________       Disputed
     Ridgewood,       New York 11385
     ___________________________________________________________
                                                                                         Goods provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                          02/2014-07/2015
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page10     27
                                                                                                                                                   __ of ___
           16-11314-mew
           Kiki            Docd/b/a
                Holdings, LLC  1 Filed 05/06/16
                                    Kiki         Entered
                                         de Montparnasse                                05/06/16 12:10:42             Main Document
  Debtor       _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 27 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 42 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                       1924.27
                                                                                                                     $________________________________
     Henry Bertrand
     ___________________________________________________________       Contingent
     c/o Blue Starr Silk Corp.                                         Unliquidated
     108   W 39th Street, Room 401                                     Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
     New   York, New York 10018
     ___________________________________________________________        disputed
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           09/01/2014
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 43 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      4507.07
                                                                    Check all that apply.                            $________________________________
     Hurel
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________ 
     rue   Olivier     Metra                                            Disputed
     75020    PARIS, FRANCE
     ___________________________________________________________                            Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         08/01/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 44 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:     54.50
                                                                    Check all that apply.                            $________________________________
     Incoqnito
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     719   Clementina
     ___________________________________________________________       Disputed
     San Francisco, California 94103
     ___________________________________________________________                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           03/25/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  45 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:     750.00
                                                                                                                     $________________________________
     Jan - Pro Cleaning System
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
     1050 E. Flamingo Road, Suite #N-334                               Unliquidated
     ___________________________________________________________       Disputed
     Las Vegas, Nevada 89119
     ___________________________________________________________
                                                                                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           06/01/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  46 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      5730.00
                                                                    Check all that apply.                            $________________________________
     Jens    Mortensen Photography Inc.
     ___________________________________________________________
                                                                       Contingent
     330 W 38th Street, 15th Floor                                     Unliquidated
     ___________________________________________________________       Disputed
     New York, New York 10018
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           08/24/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 11    27
                                                                                                                                                   __ of ___
            16-11314-mew
           Kiki   Holdings, LLC    Docd/b/a
                                         1 FiledKiki05/06/16          Entered
                                                        de Montparnasse                 05/06/16 12:10:42             Main Document
  Debtor      _______________________________________________________                        Case number (if known)_____________________________________
               Name                                                Pg 28 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  47 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:      375.00
                                                                    Check all that apply.                            $________________________________
     JKR Management LLC
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     506 Westerly Drive                                                Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
     Marlton, New Jersey 08053
     ___________________________________________________________        disputed
                                                                                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           06/04/2015
                                             ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 48 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      87.50
                                                                 Check all that apply.                               $________________________________
      Martin Sahringer
     ___________________________________________________________
                                                                 
                                                                 x Contingent
                                                                 
                                                                 x Unliquidated
     Unit 26 the Laundry, 2-18 Warburton Road
     ___________________________________________________________ 
                                                                 x Disputed
     London  e83fn
     ___________________________________________________________
                                                                                          Order return
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         April 2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 49 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      Undetermined
                                                                    Check all that apply.                            $________________________________
     Adam Kmiec
     ___________________________________________________________
                                                                       Contingent
                                                                 
                                                                 x      Unliquidated
      adamkmiec@gmail.com
     ___________________________________________________________       Disputed
     ___________________________________________________________                            Order return
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          April 2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  50 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      2580.00
                                                                    Check all that apply.                            $________________________________
     JR De Bellard Fine Jewerly
     ___________________________________________________________
                                                                       Contingent
     36 NE 1st Street, Suite 810                                       Unliquidated
     ___________________________________________________________       Disputed
     Miami, Florida 33132
     ___________________________________________________________
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           12/01/2010
                                             ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  51 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      245,088.93
                                                                                                                     $________________________________
     Kama Carnes
     ___________________________________________________________
                                                                    Check all that apply.
                                                                    x
                                                                       Contingent
     2 King Street, Apt. 6F                                         
                                                                    x   Unliquidated
     ___________________________________________________________    
                                                                    x   Disputed
     New York, NY 10012
     ___________________________________________________________
                                                                                          Expense reimbursements
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred       01/2013-03/2016
                                            ___________________     Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 12    27
                                                                                                                                                   __ of ___
            16-11314-mew
           Kiki            Docd/b/a
                Holdings, LLC  1 Filed
                                    Kiki05/06/16  Entered
                                         de Montparnasse                                05/06/16 12:10:42             Main Document
  Debtor       _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 29 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 52 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:     15.54
                                                                    Check all that apply.                            $________________________________
     King Garment Care
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     220 Avenue of the Americas                                        Disputed
     ___________________________________________________________    
                                                                    x   Liquidated and neither contingent nor
     New   York, New York 10014
     ___________________________________________________________        disputed
                                                                                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           11/01/2014
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 53 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:     684.00
                                                                    Check all that apply.                            $________________________________
     Ladas & Parry LLP
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________ 
     26   W  61st   Street                                              Disputed
     New York, New York 10023
     ___________________________________________________________                            Legal services (trademark counsel).
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               02/11/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  54 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      264.00
                                                                    Check all that apply.                            $________________________________
     Leila Sharifi
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     26   Knoll    Lane
     ___________________________________________________________       Disputed
     Glen Head, New York 11545
     ___________________________________________________________                         Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           03/10/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes

 55 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      34995.65
                                                                    Check all that apply.                            $________________________________
     Leloi AB
     ___________________________________________________________
                                                                       Contingent
     5799 Fontanoso Way                                                Unliquidated
     ___________________________________________________________       Disputed
     San   Jose, California 95138-1015
     ___________________________________________________________
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred      01/2014-04/2015
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  56 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      1003.00
                                                                                                                     $________________________________
     Lu Trimming Corp.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
     306 W 37th Street, 4th Floor                                      Unliquidated
     ___________________________________________________________       Disputed
     New York, New York 10018
     ___________________________________________________________
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               02/01/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 13    27
                                                                                                                                                   __ of ___
            16-11314-mew
           Kiki  Holdings, LLC     Doc   1 Filed
                                      d/b/a    Kiki 05/06/16
                                                       de MontparnasseEntered           05/06/16 12:10:42             Main Document
  Debtor      _______________________________________________________                        Case number (if known)_____________________________________
               Name                                                Pg 30 of 91
 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 57 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:      4888.00
                                                                    Check all that apply.                            $________________________________
     Lyons Jewelry
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     190 Bedford Avenue                                                Disputed
     ___________________________________________________________    
                                                                    x   Liquidated and neither contingent nor
     Brooklyn, New York 11249
     ___________________________________________________________        disputed
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred       12/2013-02/2015
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  58 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      525.00
                                                                    Check all that apply.                            $________________________________
     M.X. Data, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     118   E  28th    Street,     Suite     608
     ___________________________________________________________       Disputed
     New York, New York 10016
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               03/09/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  59 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                       23270.00
                                                                                                                     $________________________________
     Magento
     ___________________________________________________________
                                                                       Contingent
     10441    Jefferson       Blvd,    Suite    200                    Unliquidated
     ___________________________________________________________       Disputed
     Culver City, California 90232
     ___________________________________________________________                         Goods/Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               01/22/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  60 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      505.30
                                                                                                                     $________________________________
     Mario Cucchetti Tessuti Srl
     ___________________________________________________________
                                                                 Check all that apply.
     c/o Renavazio LLC                                            Contingent
     1400 Broadway, Suite #3607                                   Unliquidated
     ___________________________________________________________  Disputed
     New York, New York 10018
     ___________________________________________________________
                                                                                            Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred           01/11/2013
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  61 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      557.44
     McLane Security                                                Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                       Contingent
     247   W  35th    Street,     Suite     600                        Unliquidated
     ___________________________________________________________       Disputed
     New   York, New York 10001
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred            06/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   14 of ___
                                                                                                                                              page __    27
            16-11314-mew
           Kiki             Doc
                Holdings, LLC   1 Filed
                              d/b/a Kiki05/06/16  Entered
                                         de Montparnasse                                05/06/16 12:10:42             Main Document
  Debtor       _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 31 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 62 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                       6431.00
                                                                                                                     $________________________________
     Megasol USA Group Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     8701    Tonnelle Avenue                                           Disputed
     ___________________________________________________________       Liquidated and neither contingent nor
     North    Bergen, New Jersey 07047
     ___________________________________________________________        disputed
                                                                                          Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                              03/-11/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  63 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      1870.00
                                                                    Check all that apply.                            $________________________________
     Mikan    Printing, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     168-B    Raceway      Drive
     ___________________________________________________________       Disputed
     Mooresville,        North Carolina 28117
     ___________________________________________________________                            Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               11/01/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  64 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      6049.12
                                                                    Check all that apply.                            $________________________________
     MT   Jersey USA LLC
     ___________________________________________________________
                                                                       Contingent
     128   Chatham      Street                                         Unliquidated
     ___________________________________________________________       Disputed
     Chatham, New Jersey 07928
     ___________________________________________________________                            Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               02-07/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes

 65 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      180.00
      Victoria F. Gingrich                                          Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                       Contingent
     PO   Box   7                                                      Unliquidated
     ___________________________________________________________       Disputed
     Circleville,        New York 10919
     ___________________________________________________________
                                                                                         Services provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                           03/2014-10/2015
                                            ___________________     Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  66 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      607.45
     NYC Messenger Inc.                                             Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                       Contingent
     15 E 40th Street                                                  Unliquidated
     ___________________________________________________________       Disputed
     New York, New York 10016
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________
                                               01-03/2016           Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 15    27
                                                                                                                                                   __ of ___
            16-11314-mew
            Kiki   Holdings, LLC   Docd/b/a
                                         1 Filed Kiki 05/06/16        Entered 05/06/16 12:10:42 Main Document
                                                         de Montparnasse
  Debtor      _______________________________________________________            Case number (if known)_____________________________________
              Name                                             Pg 32 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  67 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:
                                                                   Check all that apply.                             52.99
                                                                                                                   $________________________________
      Shuang Linda Teng
     ___________________________________________________________ 
                                                                 x     Contingent
                                                                 
                                                                 x     Unliquidated
     79 Decatur Road                                                  Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
     New Rochelle, NY 10801
     ___________________________________________________________       disputed
                                                                                         Order refund
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred
                                              12/4/15
                                             ___________________   Is the claim subject to offset?
                                                                   x
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


  68 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                             12,580.40
                                                                                                                   $________________________________
     Maschentex GmbH
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     Konigstrasse  34, 89165
     ___________________________________________________________      Disputed
     Dietenheim, Germany
     ___________________________________________________________
                                                                                        Goods provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred         1/2015-7/2015
                                             ___________________   Is the claim subject to offset?
                                                                   x
                                                                      No
     Last 4 digits of account number         2142
                                             ___ ___ ___ ___          Yes


  69 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     234.18
                                                                   Check all that apply.                           $________________________________
     Parallax Press
     ___________________________________________________________
                                                                      Contingent
     46 Development Road                                              Unliquidated
     ___________________________________________________________      Disputed
     Fitchburg, Massachusetts 01420
     ___________________________________________________________                           Goods Provided
                                                                   Basis for the claim: ________________________
                                                04/11/2016         Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes

  70 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     233.18
                                                                                                                   $________________________________
     Petit Boudoir
     ___________________________________________________________
                                                                   Check all that apply.
                                                                      Contingent
     Oeder Weg 23                                                     Unliquidated
     ___________________________________________________________      Disputed
     60318   Frankfurt am Main, GERMANY
     ___________________________________________________________                           Goods Provided
                                                                   Basis for the claim: ________________________
                                                11/21/2014         Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



  71 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:     1348.22
     Pinnacle Jewelry, Inc.                                        Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      Contingent
     34 W 46th Street, Suite 500                                  Unliquidated
     ___________________________________________________________      Disputed
     New York, New York 10036
     ___________________________________________________________                           Goods Provided
                                                                   Basis for the claim: ________________________
                                            07/2015-03/2016 Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               16 of ___
                                                                                                                                          page __    27
            16-11314-mew
           Kiki            Docd/b/a
                Holdings, LLC   1 Filed
                                    Kiki05/06/16  Entered
                                         de Montparnasse                                05/06/16 12:10:42             Main Document
  Debtor       _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 33 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


 72 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:      2391.00
                                                                    Check all that apply.                            $________________________________
     Pormanteau Properties, LLC
     ___________________________________________________________       Contingent
                                                                       Unliquidated
     201  Santa Monica Blvd, Suite 480                                 Disputed
     ___________________________________________________________    
                                                                    x   Liquidated and neither contingent nor
     Santa Monica, California 90401                                     disputed
     ___________________________________________________________
                                                                                         Reimbursement for
                                                                    Basis for the claim: ________________________        expenses.
                                                12/15/2014          Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  73 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      533.49
                                                                    Check all that apply.                            $________________________________
     Presentation Graphics
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1417 53rd Street                                                  Disputed
     ___________________________________________________________
     Brooklyn, New York 11219
     ___________________________________________________________                            Goods/Services Provided
                                                                    Basis for the claim: ________________________
                                                01/13/2016          Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


 74 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      8726.50
                                                                    Check all that apply.                            $________________________________
     Preview Textile Group
     ___________________________________________________________
                                                                       Contingent
     225 W 37th Street, 11th Floor
                                                                       Unliquidated
     ___________________________________________________________  Disputed
     New York, New York 10018
     ___________________________________________________________                             Goods Provided
                                                                    Basis for the claim: ________________________
                                            12/2015-03/2016 Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                 
                                                                 x No
     Last 4 digits of account number         ___ ___ ___ ___           Yes

  75 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      569.88
                                                                                                                     $________________________________
      Principal Life Insurance Company
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
     PO Box 10372                                                      Unliquidated
     ___________________________________________________________       Disputed
     Des Moines, Iowa 50306-0372
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               04/01/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  76 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      118.81
     Readyrefresh      by Nestle                                    Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                       Contingent
     Po Box 856192                                                Unliquidated
     ___________________________________________________________       Disputed
     Louisville, Kentucky 40285-6192
     ___________________________________________________________                             Goods Provided
                                                                    Basis for the claim: ________________________
                                               03/10/2016           Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page __     27
                                                                                                                                                   17 of ___
           16-11314-mew
           Kiki  Holdings, LLC    Docd/b/a
                                        1 Filed Kiki 05/06/16        Entered
                                                        de Montparnasse                 05/06/16 12:10:42             Main Document
  Debtor     _______________________________________________________                         Case number (if known)_____________________________________
               Name                                                Pg 34 of 91
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 77 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:      1175.18
     RIL-Metal                                                      Check all that apply.                            $________________________________
     ___________________________________________________________        Contingent
                                                                        Unliquidated
     Via del Lavoro, 19                                                 Disputed
     ___________________________________________________________        Liquidated and neither contingent nor
     Telgate    BG, ITALY
     ___________________________________________________________         disputed
                                                                                            Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                           10/2014-04/2015
                                            ___________________     Is the claim subject to offset?
                                                                    x
                                                                        No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


 78 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      19344.00
                                                                 Check all that apply.                               $________________________________
     Riverpack USA Corp.
     ___________________________________________________________
     c/o Guibert & Co.                                            Contingent
                                                                  Unliquidated
     149 E 36th Street                                            Disputed
     ___________________________________________________________
     New York, New York 10016
     ___________________________________________________________                             Goods Provided
                                                                    Basis for the claim: ________________________
                                                05/29/2015          Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


 79 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      400.00
                                                                    Check all that apply.                            $________________________________
     Robyn L. Williamson
     ___________________________________________________________
                                                                        Contingent
     310 Greenwich Street, #6K                                          Unliquidated
     ___________________________________________________________        Disputed
     New York, New York 10013
     ___________________________________________________________
                                                                                          Services provided
                                                                    Basis for the claim: ________________________
                                               03/02/2016           Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes

 80 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      979.88
     Salesforce.com, Inc.                                           Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                        Contingent
     PO Box 203141                                                Unliquidated
     ___________________________________________________________        Disputed
     Dallas, Texas 75320-3141
     ___________________________________________________________                            Goods/Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               09/15/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes



 81 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      27468.05
                                                                    Check all that apply.                            $________________________________
     Santosha, Inc.
     ___________________________________________________________
                                                                        Contingent
     1547   6th Street, Suite 100                                 Unliquidated
     ___________________________________________________________        Disputed
     Santa   Monica, CA 90401
     ___________________________________________________________
                                                                                          Reimbursement for
                                                                    Basis for the claim: ________________________        expenses.
     Date or dates debt was incurred
                                               07/09/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   18 of ___
                                                                                                                                              page __    27
            16-11314-mew
           Kiki            Docd/b/a
                Holdings, LLC  1 Filed
                                    Kiki05/06/16  Entered
                                         de Montparnasse                               05/06/16 12:10:42             Main Document
  Debtor       _______________________________________________________                      Case number (if known)_____________________________________
               Name                                               Pg 35 of 91
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 82 Nonpriority creditor’s name and mailing address
3.__                                                               As of the petition filing date, the claim is:       912.15
                                                                                                                    $________________________________
     Santoul SA                                                    Check all that apply.
     ___________________________________________________________      Contingent
                                                                      Unliquidated
     Parc Activites Les Ayats                                         Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
     69390 Millery, FRANCE
     ___________________________________________________________       disputed
                                                                                            Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred
                                              03/11/2016
                                            ___________________    Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number        ___ ___ ___ ___           Yes


 83 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:      200.00
                                                                   Check all that apply.                            $________________________________
     Sasha Samuel
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________  Disputed
     75  Roebling Street, Apartment 3D
     Brooklyn,     New York 11211
     ___________________________________________________________                           Goods Provided
                                                                   Basis for the claim: ________________________
                                           08/2013-12/2014         Is the claim subject to offset?
     Date or dates debt was incurred        ___________________
                                                                   
                                                                   x   No
     Last 4 digits of account number        ___ ___ ___ ___           Yes


 84 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:      1375.99
                                                                   Check all that apply.                            $________________________________
     Shindo USA Inc.
     ___________________________________________________________
                                                                      Contingent
     152 W 36th Street                                                Unliquidated
     ___________________________________________________________      Disputed
     New York, New York 10018
     ___________________________________________________________                            Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred
                                           08/2015-03/2016
                                            ___________________    Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number        ___ ___ ___ ___           Yes

 85 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:       2318.00
                                                                                                                    $________________________________
     Simply Bliss Inc.
     ___________________________________________________________
                                                                   Check all that apply.
                                                                      Contingent
     125 Maiden Lane, #201                                            Unliquidated
     ___________________________________________________________      Disputed
     New York, New York 10038
     ___________________________________________________________                            Goods Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred      06/2014-02/2015
                                           ___________________     Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number        ___ ___ ___ ___           Yes



 86 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:      2000.00
     Smith Global LTD                                              Check all that apply.                            $________________________________
     ___________________________________________________________
     Third Floor Offices                                              Contingent
     Shepherds Building, Rockley Road                                 Unliquidated
     ___________________________________________________________      Disputed
     London
     ___________________________________________________________                           Services Provided
                                                                   Basis for the claim: ________________________

     Date or dates debt was incurred
                                               09/10/2015
                                            ___________________    Is the claim subject to offset?
                                                                   
                                                                   x   No
     Last 4 digits of account number        ___ ___ ___ ___           Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  19 of ___
                                                                                                                                             page __    27
            16-11314-mew
            Kiki  Holdings, LLC    Docd/b/a
                                         1 Filed Kiki 05/06/16        Entered
                                                         de Montparnasse                 05/06/16 12:10:42             Main Document
  Debtor      _______________________________________________________                         Case number (if known)_____________________________________
               Name                                                 Pg 36 of 91
 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 87 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:      285.50
                                                                     Check all that apply.                            $________________________________
      SML  (USA) Inc.
      ___________________________________________________________       Contingent
                                                                        Unliquidated
      777  Main Street                                                  Disputed
      ___________________________________________________________       Liquidated and neither contingent nor
      Lewiston,     Maine 04240-5803
      ___________________________________________________________        disputed
                                                                                              Goods Provided
                                                                     Basis for the claim: ________________________

                                             06/2015-01/2016         Is the claim subject to offset?
      Date or dates debt was incurred         ___________________
                                                                     
                                                                     x   No
      Last 4 digits of account number         ___ ___ ___ ___           Yes


 88
3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      20020.78
                                                                     Check all that apply.                            $________________________________
      Solstiss Inc.
      ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      561 7th Avenue, 16th Floor                                        Disputed
      ___________________________________________________________
      New York, New York 10018
      ___________________________________________________________                            Goods Provided
                                                                     Basis for the claim: ________________________
                                                  07/2015            Is the claim subject to offset?
      Date or dates debt was incurred         ___________________
                                                                     
                                                                     x   No
      Last 4 digits of account number         ___ ___ ___ ___           Yes


 89 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      12536.50
                                                                  Check all that apply.                               $________________________________
      Sophie Hallette
      ___________________________________________________________
                                                                   Contingent
      Grupo Textil                                                 Unliquidated
      350 W 42nd Street, Suite 47A
      ___________________________________________________________       Disputed
      New York, New York 10036
      ___________________________________________________________                            Goods/Services Provided
                                                                     Basis for the claim: ________________________
                                             02/2015-07/2015         Is the claim subject to offset?
      Date or dates debt was incurred         ___________________
                                                                     
                                                                     x   No
      Last 4 digits of account number         ___ ___ ___ ___           Yes

  90 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      1191.65
      Staples Business Advantage Department NY                       Check all that apply.                            $________________________________
      ___________________________________________________________
                                                                        Contingent
      PO Box 415256                                                     Unliquidated
      ___________________________________________________________       Disputed
      Boston, Massachusetts 02241-5256
      ___________________________________________________________                            Goods Provided
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred
                                                 02-03/2016
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     x   No
      Last 4 digits of account number         ___ ___ ___ ___           Yes



  91 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      200.00
      Stretchline Holdings, LTD                                      Check all that apply.                            $________________________________
      ___________________________________________________________
                                                                        Contingent
      Lot 89, BEPZ                                                      Unliquidated
      ___________________________________________________________       Disputed
      Walgama, Malwana SRI LANKA
      ___________________________________________________________                             Goods Provided
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred
                                                 08/21/2014
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     x   No
      Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   20 of 27
                                                                                                                                               page __    ___
            16-11314-mew
           Kiki             Doc
                Holdings, LLC   1 Filed
                              d/b/a Kiki05/06/16  Entered
                                         de Montparnasse                                05/06/16 12:10:42             Main Document
  Debtor       _______________________________________________________                       Case number (if known)_____________________________________
               Name                                                Pg 37 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:      12600.00
                                                                                                                     $________________________________
     Sweden Unlimited                                               Check all that apply.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
     199  Lafayette Street, Suite 4A2                                   Disputed
     ___________________________________________________________        Liquidated and neither contingent nor
     New York, New York 10012
     ___________________________________________________________         disputed

                                                                                         Services provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               01-04/2016
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


 93 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      2179.06
                                                                    Check all that apply.                            $________________________________
     Tangonet    LLC
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     ___________________________________________________________  Disputed
     4733 Norwich Avenue
     Sherman Oaks, California 91403
     ___________________________________________________________                            Goods/Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               02-04/2016
                                             ___________________    Is the claim subject to offset?
                                                                    x   No
     Last 4 digits of account number         ___ ___ ___ ___            Yes


 94 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      1874.52
                                                                    Check all that apply.                            $________________________________
     Tesso S.P.A.
     ___________________________________________________________
                                                                        Contingent
     561 7th Avenue, 4th Floor
                                                                        Unliquidated
     ___________________________________________________________  Disputed
     New York, New York 10018
     ___________________________________________________________                             Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                                09/29/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes

 95 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      18000.00
                                                                                                                     $________________________________
     Toby   Evers Consulting LLC
     ___________________________________________________________
                                                                    Check all that apply.
                                                                        Contingent
     60  Plaza Street E, 2M                                       Unliquidated
     ___________________________________________________________        Disputed
     Brooklyn,     New York 11238
     ___________________________________________________________                            Services Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                                06-09/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes



 96 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:      4304.28
     Toki Sen-i Co., LTD                                            Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                        Contingent
     4-4-7,    Kawaramachi                                        Unliquidated
     ___________________________________________________________        Disputed
     Chuo-ku    Osaka, 541-0048 JAPAN
     ___________________________________________________________                             Goods Provided
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred
                                               09/01/2015
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    x    No
     Last 4 digits of account number         ___ ___ ___ ___            Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 21    27
                                                                                                                                                   __ of ___
            16-11314-mew
           Kiki  Holdings, LLC     Doc   1 Filed
                                      d/b/a     Kiki05/06/16
                                                       de MontparnasseEntered            05/06/16 12:10:42             Main Document
  Debtor      _______________________________________________________                         Case number (if known)_____________________________________
                Name                                               Pg 38 of 91
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 97 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:      548.71
                                                                     Check all that apply.                            $________________________________
       Topco   Sales
       ___________________________________________________________      Contingent
                                                                        Unliquidated
       PO Box 515722                                                    Disputed
       ___________________________________________________________      Liquidated and neither contingent nor
       Los Angeles, California 90051-5202                                disputed
       ___________________________________________________________
                                                                                              Goods Provided
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred
                                               07/08/2015
                                             ___________________     Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number       ___ ___ ___ ___            Yes


 98 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      1303.69
                                                                     Check all that apply.                            $________________________________
       Uline
       ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
       ___________________________________________________________  Disputed
       PO Box 88741
       Chicago,    Illinois 60680-1741
       ___________________________________________________________                            Goods Provided
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred
                                                01-03/2016
                                             ___________________     Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number       ___ ___ ___ ___            Yes


 99 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:      9.00
                                                                     Check all that apply.                            $________________________________
       UPS Supply Chain Solutions, Inc.
       ___________________________________________________________
                                                                        Contingent
       28013   Network Place
                                                                        Unliquidated
       ___________________________________________________________  Disputed
       Chicago,    Illinois 60673-1280
       ___________________________________________________________                           Goods/Services Provided
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred
                                               02/25/2016
                                             ___________________     Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number       ___ ___ ___ ___            Yes

 100
3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      359.98
                                                                                                                      $________________________________
       Vena Casa Design
       ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
       PO Box 3597                                                      Unliquidated
       ___________________________________________________________      Disputed
       Poole BH149ZL UK
       ___________________________________________________________
                                                                                           Goods Provided
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred        01/31/2014
                                             ___________________     Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number       ___ ___ ___ ___            Yes


  101
3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:      819.40
                                                                                                                      $________________________________
       Verizon
       ___________________________________________________________
                                                                     Check all that apply.
                                                                        Contingent
       PO   Box 15124                                                   Unliquidated
       ___________________________________________________________      Disputed
       Albany,     New York 12212-5124
       ___________________________________________________________
                                                                                          Goods/Services Provided
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred       03/10/2016
                                             ___________________     Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number       ___ ___ ___ ___            Yes




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page 22    27
                                                                                                                                                    __ of ___
            16-11314-mew
            Kiki            Docd/b/a
                 Holdings, LLC  1 Filed
                                     Kiki05/06/16  Entered
                                           de Montparnasse                                 05/06/16 12:10:42            Main Document
  Debtor        _______________________________________________________                        Case number (if known)_____________________________________
                Name                                                 Pg 39 of 91
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 102
3.__ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                                                                          1197.00
                                                                       Check all that apply.                           $________________________________
       Vibe    Design, LLC
       ___________________________________________________________         Contingent
                                                                           Unliquidated
       407   Pleasant Street, Suite 14                                     Disputed
       ___________________________________________________________         Liquidated and neither contingent nor
       Fall   River, Massachusetts 02721
       ___________________________________________________________          disputed
                                                                                             Goods Provided
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred           04/23/2015
                                               ___________________     Is the claim subject to offset?
                                                                       
                                                                       x    No
       Last 4 digits of account number         ___ ___ ___ ___             Yes


 103
3.__ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                             289.89
                                                                                                                       $________________________________
        Missy Ann Funk
       ___________________________________________________________
                                                                       
                                                                       x    Contingent
                                                                           Unliquidated
       missyannfunk@gmail.com
       ___________________________________________________________         Disputed

       ___________________________________________________________
                                                                                             Store credit
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred
                                                March 2016
                                               ___________________     Is the claim subject to offset?
                                                                       x
                                                                           No
       Last 4 digits of account number         ___ ___ ___ ___             Yes


  104
3.__ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                         295
                                                                                                                       $________________________________
       Dina A. Sammakieh
       ___________________________________________________________
                                                                    
                                                                    x Contingent
                                                                   x Unliquidated
       dinasam@gmail.com
       ___________________________________________________________ x Disputed
       ___________________________________________________________
                                                                                             Order refund
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       x
                                                                           No
       Last 4 digits of account number         ___ ___ ___ ___             Yes

 105
3.__ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:     Unknown
                                                                       Check all that apply.                           $________________________________
       Christopher Sandoval
       ___________________________________________________________
                                                                       x   Contingent
                                                                       x   Unliquidated
        sandovalchristopher@gmail.com
       ___________________________________________________________      
                                                                        x   Disputed
       ___________________________________________________________
                                                                                            Purchase refund
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       
                                                                       x    No
       Last 4 digits of account number         ___ ___ ___ ___             Yes


  106
3.__ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         1,436.40
                                                                                                                       $________________________________
       Van Repchinsky
       ___________________________________________________________
                                                                       Check all that apply.
                                                                       x
                                                                           Contingent
                                                                       
                                                                       x    Unliquidated
       10208-72 Street
       ___________________________________________________________     
                                                                       x    Disputed
       Edmonton, Alberta T6A2W5
       ___________________________________________________________
                                                                                            Order refund
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         3/30/2016
                                               ___________________     Is the claim subject to offset?
                                                                       
                                                                       x    No
       Last 4 digits of account number         ___ ___ ___ ___             Yes




   Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page __    27
                                                                                                                                                      23of ___
             16-11314-mew
               Kiki Holdings, LLCDoc d/b/a 1
                                           Kiki Filed  05/06/16 Entered 05/06/16 12:10:42 Main Document
                                                de Montparnasse
  Debtor       _______________________________________________________      Case number (if known)_____________________________________
               Name                                             Pg 40 of 91
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 107
3.__ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                      Check all that apply.                             168.96
                                                                                                                      $________________________________
        Diego Rivera
       ___________________________________________________________ 
                                                                   x      Contingent
                                                                   
                                                                   x      Unliquidated
                                                                   x
                                                                         Disputed
        2185 Hayes Street
       ___________________________________________________________       Liquidated and neither contingent nor
       San Francisco, CA 94117
       ___________________________________________________________        disputed
                                                                                            Order cancellation
                                                                      Basis for the claim: ________________________

       Date or dates debt was incurred         4/3/16
                                               ___________________    Is the claim subject to offset?
                                                                      x
                                                                         No
       Last 4 digits of account number         ___ ___ ___ ___           Yes


  108
3.__ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:     250
                                                                   Check all that apply.                              $________________________________
       Pavleta Alexieva
       ___________________________________________________________
                                                                   
                                                                   x Contingent
                                                                    Unliquidated
       alexieva.pavleta@gmail.com
       ___________________________________________________________  Disputed
       ___________________________________________________________
                                                                                            Unused gift card
                                                                      Basis for the claim: ________________________

       Date or dates debt was incurred         Unknown
                                               ___________________    Is the claim subject to offset?
                                                                      
                                                                      x   No
       Last 4 digits of account number         ___ ___ ___ ___           Yes


  109
3.__  Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:     1,017
                                                                      Check all that apply.                           $________________________________
       Nancy Meyer Fine Lingerie
       ___________________________________________________________
                                                                         Contingent
       1318   Fifth Avenue                                               Unliquidated
       ___________________________________________________________       Disputed
       Seattle, WA 98101
       ___________________________________________________________
                                                                                            Open balance
                                                                      Basis for the claim: ________________________

       Date or dates debt was incurred         Unknown
                                               ___________________    Is the claim subject to offset?
                                                                         No
       Last 4 digits of account number         ___ ___ ___ ___           Yes

 110 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:     1,874.52
                                                                                                                      $________________________________
       Teseo SPA / Rossana Valentino
       ___________________________________________________________
                                                                      Check all that apply.
                                                                         Contingent
                                                                         Unliquidated
       561 7th Ave, 4th Floor
       ___________________________________________________________       Disputed
       New York, NY 10018
       ___________________________________________________________
                                                                                           Goods provided
                                                                      Basis for the claim: ________________________

       Date or dates debt was incurred         9/29/15
                                               ___________________    Is the claim subject to offset?
                                               2407                   
                                                                      x   No
       Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  111 Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       5,000
                                                                                                                      $________________________________
       The Coveteur Inc.
       ___________________________________________________________
                                                                      Check all that apply.
                                                                         Contingent
                                                                         Unliquidated
       24 Duncan Street, Suite 400
       ___________________________________________________________       Disputed
       Toronto, Ontario M5V2B8 Canada
       ___________________________________________________________
                                                                                           Services provided
                                                                      Basis for the claim: ________________________

       Date or dates debt was incurred         2015
                                               ___________________    Is the claim subject to offset?
                                                                      x
                                                                         No
       Last 4 digits of account number         ___ ___ ___ ___           Yes




    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 24    27
                                                                                                                                                  __ of ___
             16-11314-mew
               Kiki Holdings, LLCDoc d/b/a1KikiFiled   05/06/16 Entered 05/06/16 12:10:42 Main Document
                                                de Montparnasse
  Debtor       _______________________________________________________      Case number (if known)_____________________________________
               Name                                             Pg 41 of 91
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  112 Nonpriority creditor’s name and mailing address
3.__                                                                 As of the petition filing date, the claim is:
                                                                   Check all that apply.                               Unknown
                                                                                                                     $________________________________
       Sophie Lea
       ___________________________________________________________ x Contingent
                                                                   
                                                                   
                                                                   x Unliquidated
                                                                   
                                                                   x Disputed
       sophie@zacara.com
       ___________________________________________________________  Liquidated and neither contingent nor
       ___________________________________________________________       disputed

                                                                                           Purchase return
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred        February 2016
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number        ___ ___ ___ ___           Yes


 113
3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:     66,076.01
                                                                     Check all that apply.                           $________________________________
        Jon Rubin
       ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
        c/o H2 Management, 201 Santa Monica Blvd. #480
       ___________________________________________________________      Disputed
       Santa Monica, CA 90407
       ___________________________________________________________
                                                                                           Company expense reimbursements
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                     x
                                                                        No
       Last 4 digits of account number        ___ ___ ___ ___           Yes


 114
3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,200,052.80
                                                                                                                     $________________________________
       Jon Rubin
       ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
       c/o H2 Management, 201 Santa Monica Blvd. #480
       ___________________________________________________________  Disputed
       Santa  Monica, CA  90407
       ___________________________________________________________
                                                                                           Demand notes payable,
                                                                     Basis for the claim: ________________________    with interest.

       Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                     x
                                                                        No
       Last 4 digits of account number        ___ ___ ___ ___           Yes

 115 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:     1,796,475.34
                                                                     Check all that apply.                           $________________________________
       Jon Rubin
       ___________________________________________________________
                                                                        Contingent
       c/o H2 Management, 201 Santa Monica Blvd. #480
                                                                        Unliquidated
       ___________________________________________________________      Disputed
       Santa Monica, CA 90407
       ___________________________________________________________
                                                                                          Subordinated debt, with
                                                                     Basis for the claim: ________________________    interest

       Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number        ___ ___ ___ ___           Yes



  116 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:     46,275.59
                                                                     Check all that apply.                           $________________________________
       Jon M Rubin Trust
       ___________________________________________________________
                                                                        Contingent
       c/o H2 Management, 201 Santa Monica Blvd. #480
                                                                        Unliquidated
       ___________________________________________________________      Disputed
       Santa Monica, CA 90407
       ___________________________________________________________
                                                                                           Company expense reimbursements
                                                                     Basis for the claim: ________________________

       Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                     
                                                                     x   No
       Last 4 digits of account number        ___ ___ ___ ___           Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 25    27
                                                                                                                                                 __ of ___
            16-11314-mew
              Kiki                 DocKiki
                   Holdings, LLC d/b/a   1 deFiled    05/06/16 Entered 05/06/16 12:10:42 Main Document
                                               Montparnasse
  Debtor      _______________________________________________________      Case number (if known)_____________________________________
              Name                                             Pg 42 of 91
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  117 Nonpriority creditor’s name and mailing address
3.__                                                                As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      434,730
                                                                                                                    $________________________________
     Todd Rubin
     ___________________________________________________________       Contingent
                                                                       Unliquidated
      c/o H2 Management, 201 Santa Monica Blvd. #480                   Disputed
     ___________________________________________________________    
                                                                    x   Liquidated and neither contingent nor
     Santa Monica, CA 90407
     ___________________________________________________________        disputed

                                                                                         Demand notes payable,
                                                                    Basis for the claim: ________________________    with interest

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes


 118
3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:     5,527,616.44
                                                                    Check all that apply.                           $________________________________
     Miles Rubin
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     3035 Chain Bridge Road NW
     ___________________________________________________________  Disputed
     Washington, DC 20016
     ___________________________________________________________
                                                                    Basis for the claim: Subordinated  debt, with
                                                                                         ________________________   interest

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    x
                                                                       No
     Last 4 digits of account number          ___ ___ ___ ___          Yes


3.__
 119 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      276,380.82
                                                                                                                    $________________________________
      Andrew Rosen
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     c/o Link Theory Holdings, 38 Gansevoort Street, 5th Fl.
     ___________________________________________________________  Disputed
     New York, NY 10014
     ___________________________________________________________
                                                                                         Subordinated debt, with
                                                                    Basis for the claim: ________________________    interest

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes

  120 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:     102,110.91
                                                                                                                    $________________________________
     See addendum annexed hereto.
     ___________________________________________________________
                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                                          Unused store credit
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    x   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number          ___ ___ ___ ___          Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 26    27
                                                                                                                                                __ of ___
           16-11314-mew
             Kiki Holdings,Doc       LLC1 d/b/a
                                             FiledKiki
                                                     05/06/16        Entered 05/06/16 12:10:42 Main Document
                                                            de Montparnasse
 Debtor      _______________________________________________________            Case number (if known)_____________________________________
             Name                                             Pg 43 of 91
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts


                                                                                                             233,191.70
                                                                                                           $_____________________________
5a. Total claims from Part 1                                                                   5a.




5b. Total claims from Part 2                                                                   5b.    +     10,738,557.56
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                  10,971,749.26
                                                                                               5c.         $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 27    27
                                                                                                                                         __ of ___
16-11314-mew        Doc 1   Filed 05/06/16 Entered 05/06/16 12:10:42               Main Document
                                        Pg 44 of 91
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Addendum to Schedule E/F



                                            Addendum



       Four hundred (400) customers currently hold store credit with the Debtor. At the time of

the filing of this Petition, these customer addresses are not available to the Debtor or the

Debtor’s counsel. Attached hereto are the list of customers with names, amounts due, and dates

incurred. The Debtor believes this information is administered by Gazelle Intense Solutions, as

set forth in Question 27 of the Schedule of Financial Affairs.
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 45 of 91                                               1
Addendum to Schedule E/F

                                       Outstanding Store Credit Holders
Last Name                                First Name   Title   Company            Date         Store Credit
VITAN                                    IRINA        MS                           3/3/2007    $        10.34
GOLDBERG                                 ANDREW       MR                          8/18/2007    $       189.66
                                                                                 12/15/2008    $       307.91
BELCHER                                  BLAIR                                     1/7/2010    $        47.36
BIRNBAUM                                 JOSH         MR                          2/12/2010    $       479.23
SANDERS                                  JOANNA                                   2/18/2010    $        95.42
WINN                                     DANA                                     2/22/2010    $       243.56
NICHOLS                                  CHRISTY                                   3/7/2010    $       131.70
CENTINEL                                 DAVIDE                                   3/11/2010    $        70.77
CADE                                     BRITTANY     MS                          3/16/2010    $       272.19
DUGGAL                                   ANISHA                                   3/22/2010    $       123.16
JORIO                                    ELOISA                                   4/10/2010    $        68.31
UDELL                                    RANDI                                    4/10/2010    $       201.78
WOOD                                     RANDI                                     5/4/2010    $       164.63
KAO                                      JEN                                       5/6/2010    $       188.53
CADOURCY                                 PERRE                                    5/20/2010    $       228.31
MERKLE                                   MOLLY                                    6/17/2010    $        18.55
BARRETT                                  REBECCA                                  7/14/2010    $        30.00
CHUNG                                    TANA         MS                           8/5/2010    $        16.50
ROGERS                                   BRETT                                    8/10/2010    $       538.93
YASUDA                                   RINA                                     9/12/2010    $       323.76
CORLEY                                   APRIL                                    10/5/2010    $       137.19
YOTKA                                    STEFF                                   10/17/2010    $        54.44
BATALLE                                  MARION                                   11/2/2010    $       108.88
ABRAMS                                   HILDY                                    11/4/2010    $        16.33
YOON                                     SONIA                                    11/4/2010    $       198.75
RODES                                    GONZALO                                 11/20/2010    $       378.88
LASSITER                                 MAI                                     11/22/2010    $       384.13
JOHANSON                                 CHRIS                                   12/12/2010    $        30.00
TODD                                     ANTONY                                  12/14/2010    $        65.33
PIAZZA                                   CARL                                    12/16/2010    $        63.78
WILCOX                                   ISABEL                                  12/31/2010    $       171.94
ABBEY                                    YAEL         MS                           1/2/2011    $       995.00
COHEN                                    CHARLES      MR                          1/13/2011    $        21.68
LYON                                     SANTIAGO                                 1/18/2011    $        46.27
NAPARSTEK                                AARON                                    1/18/2011    $       811.12
BESTWICK                                 ROBERT                                    2/1/2011    $       406.08
SMITH                                    VIRGINIA                                  2/9/2011    $        62.81
GRIFFITHS                                TRISHA                                   2/21/2011    $        11.61
CHAMNESS                                 HOLLY                                     3/8/2011    $        27.44
BARILLI                                  KRISTINE                                 3/11/2011    $        87.69
MARRIN                                   SHEA                                     3/15/2011    $       212.31
MORRIS                                   SUZY                                     3/30/2011    $       164.63
YUN                                      EDWARD                                   4/10/2011    $       162.15
NITKE                                    BARBARA                                  4/11/2011    $        56.66
ANDRADE                                  NATALIA                                  4/16/2011    $        67.52
YEN                                      JACQUELINE                               4/23/2011    $       326.63
LUPO                                     FRANK                                    5/13/2011    $       221.62
LOVE                                     JOSHUA                                   5/14/2011    $        50.00
RAMIREZ‐ARAIZ                            SANDRA                                   5/14/2011    $        21.75
NGUYEN                                   KATIE                                    5/17/2011    $       131.70
TURBERVILLE                              PHILLIP                                   6/4/2011    $        27.22



304146v1
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42    Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 46 of 91                                                 2
Addendum to Schedule E/F

Last Name                                First Name   Title   Company              Date         Store Credit
ERECE                                    OLGA                                       6/13/2011    $        27.03
NASSERI                                  LEILA                                      6/16/2011    $       164.63
THOMASHAUER                              REGENA                                     6/17/2011    $       321.18
PROVAS                                   ESTHELLA                                   6/22/2011    $       117.81
TUCKER                                   DANIEL                                      7/3/2011    $       378.35
MITCHELL                                 MICHAEL                                    7/10/2011    $       163.31
GAINOR                                   ELYSE                                       8/1/2011    $       381.06
KLEIN                                    JENNIFER                                   8/27/2011    $        24.47
SHARPE                                   ANDREW                                     9/10/2011    $       195.00
LEVIN                                    LEAH         MS                            9/19/2011    $       381.06
CESVET                                   BERTRAND                                   9/24/2011    $       239.62
CSENCSITZ                                CASSANDRA                                  9/28/2011    $        67.84
ECKFELDT                                 BRUCE                                     10/28/2011    $       500.83
VOSSOUGHIAN                              FARNAZ                                    10/30/2011    $       321.18
SANBROOK                                 GEORGE                                     11/7/2011    $       124.32
AUDIGIER                                 CRYSTAL                                    11/8/2011    $        18.38
SHOVE                                    GREGORY      MR      WIMBLEDON VENTURES   11/11/2011    $       815.00
ROMAN                                    JAMES                                     11/13/2011    $       212.31
BALTZER                                  TINA                                      11/18/2011    $        13.99
DOWNER                                   ROBERT                                    11/29/2011    $        64.86
KASWAN                                   JUSTIN                                    11/30/2011    $       669.58
SEKHAR                                   NANDITA                                    12/3/2011    $        43.55
pourbaba                                 david                                     12/17/2011    $        85.70
CHANDLER                                 DYLAN                                     12/23/2011    $       108.88
APPLEGATE                                SOFIE                                       1/3/2012    $        16.24
HATTON                                   ANDREA                                      1/3/2012    $       389.16
DAVIS                                    VIOLA                                       1/7/2012    $         6.00
PAUL‐MERCIER PARIS                       MAXINE                                     1/14/2012    $        38.11
SINGER                                   NICHOLAS                                   1/19/2012    $       160.35
SLATER                                   LESLEY                                     1/27/2012    $         3.27
ZIMMER                                   ANTONIA                                    1/28/2012    $       113.10
AHDOUT                                   JACQUELINE                                 2/13/2012    $     1,000.50
BLUMENTHAL                               DARREN                                     2/13/2012    $        16.31
DREYFUS                                  THIERRY                                    2/14/2012    $         5.44
PILGER                                   KELLY                                      2/16/2012    $        32.66
BUTLER                                   ELIZABETH                                  2/17/2012    $        16.33
ZAMIR                                    JOSH                                       2/17/2012    $        48.99
BARBEY                                   ZOE                                         3/3/2012    $        26.81
LINTON                                   LINDSEY                                    3/21/2012    $        10.00
CRAWFORD                                 AMY                                        3/29/2012    $        21.28
FORSSTROM                                HEINO                                       4/1/2012    $       146.81
BURWELL                                  GILLIAN                                     4/4/2012    $       163.31
BOBO                                     CAROL        MS                             4/6/2012    $         2.16
GRINOVETSKAYA                            VICTORIA                                   4/11/2012    $       100.85
WISE                                     ALI                                        4/12/2012    $       272.19
DAVIS                                    JEANNE                                     4/17/2012    $        97.30
MEREY                                    NEJAT                                      4/22/2012    $       524.29
LOVE                                     PAMELA               PAMELA LOVE           4/23/2012    $     1,000.00
JOEL                                     NIKKI                                      4/30/2012    $       511.13
VAN WIJK                                 BIRGITT                                     5/2/2012    $       925.44
MOYA                                     MICHELLE                                   5/11/2012    $       486.45
DAROUVAR                                 ALESSANDRA                                 5/14/2012    $        10.88
PETTY                                    YASMINE      MS                            5/16/2012    $       901.31
WANG                                     MICHELLE     MS      G‐STAR                5/19/2012    $         7.51
MACKENZIE                                MARK         MR                            5/26/2012    $        21.78


304146v1
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 47 of 91                                               3
Addendum to Schedule E/F

Last Name                                First Name    Title   Company           Date         Store Credit
LOPEZ                                    AURORA                                   5/30/2012    $       430.06
MILFORD                                  JADE                                     5/31/2012    $        10.80
REEVES                                   PATRIC                                   5/31/2012    $        93.88
KANE                                     CHARLIE                                   6/2/2012    $        21.75
EPLING                                   CHAD                                      6/4/2012    $       648.60
DOLGIN                                   KARINA                ARIELA & ASSOC      6/5/2012    $       658.70
AZOFF                                    ALISON                                   6/12/2012    $       108.25
BAUGH                                    CHRISTOPHER                              6/14/2012    $        46.90
SAROFIM                                  JOLEEN                                   6/28/2012    $        27.19
FREDSTON                                 ROCHELLE                                 7/17/2012    $       337.12
CROUCH                                   EMILY                 FRENCH VOGUE        8/8/2012    $        12.90
SOLLOW                                   JENNIFER                                 8/15/2012    $       190.53
SERGEY                                   ZHURAVLEV                                8/17/2012    $       497.26
HAMMITT                                  NICHOLAS                                 8/19/2012    $        54.44
CAMASTA                                  MARIA                                     9/9/2012    $        15.17
MACKINNEY                                STEVEN                                   9/11/2012    $        97.98
BECKWITH                                 MICAELA                                  9/22/2012    $         4.10
REIS                                     DANIEL                                   10/5/2012    $        16.33
GITOMER                                  SHELLEY                                 10/16/2012    $       745.89
INKUMSAH                                 ISAAC                                   10/16/2012    $       427.00
BROMFMAN                                 SARA                                    10/18/2012    $     1,061.53
SCHWARTZ                                 JILL                                    11/17/2012    $       146.56
BREZNER                                  BETT                                    11/24/2012    $       140.53
VALENTINES                               AMBER                                    12/1/2012    $        10.88
CONNOR                                   NIKKI                                    12/6/2012    $       103.82
SPAGNOLETTI                              MARCUS                                  12/11/2012    $       180.00
LEVITIN                                  MARK                                    12/17/2012    $        25.79
KRAUSS                                   MISSY                                   12/23/2012    $         0.57
WIIG                                     KRISTEN               SNL                 1/2/2013    $       416.18
ROSENBERG                                STEVE                                    1/11/2013    $        54.88
GOLDBERG                                 RANDY                                    1/14/2013    $        22.00
GUTTMAN                                  RONALD                                    2/8/2013    $       109.34
BORETA                                   JUSTIN                                   2/23/2013    $       490.50
CUTTER                                   PAULINA                                  2/27/2013    $         2.76
GAUTHIER                                 CHRISTINA                                 3/5/2013    $        30.00
MCLENNAND                                CATIE                                     3/6/2013    $        15.93
EDELSTEIN                                LISA                                      3/9/2013    $       201.34
GRAVELLA                                 ROBERT                                   3/27/2013    $        54.44
CHRETIEN                                 ROBERT                                   3/30/2013    $         9.25
SIROOCHENKO                              ANASTASIYA                               3/30/2013    $       909.11
SAVIANO                                  CAROLYN                                   4/8/2013    $        15.68
BRUCE                                    KIRSTY                                    4/9/2013    $       251.19
VAN ZETTEN                               WENDY                                    4/30/2013    $        59.45
BANHAM                                   ISABELLE                                  5/6/2013    $       250.70
STIMELL                                  JULIE         DR                         5/13/2013    $        65.00
STIEL                                    LEON                                     5/23/2013    $       288.52
LEE                                      MIN SOOK                                  6/5/2013    $         2.77
THOMPSON                                 ROBERT                                    6/7/2013    $     1,000.07
MARTINELLI                               FRANK                                    6/15/2013    $        27.22
REID                                     GK                                       6/21/2013    $       148.99
SCHICKETANZ                              MARY ANN                                 6/27/2013    $        25.33
SALAMUNOVICH                             THOMAS                                   6/28/2013    $        65.33
SEAGER                                   ALAN                                     7/16/2013    $       152.43
ROSE                                     ERICA                                    7/20/2013    $        16.09
SUH                                      JUNG‐AH                                  7/25/2013    $       190.53


304146v1
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42          Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 48 of 91                                                       4
Addendum to Schedule E/F

Last Name                                First Name      Title   Company                 Date         Store Credit
ALTMAN                                   JEFFREY                                           8/1/2013    $       707.69
ASPEN KADISHA                            DINA                                              8/2/2013    $        24.59
BARNES                                   DAVID           MR                               8/25/2013    $         2.16
AZOFF                                    SHELLI                                           8/29/2013    $     1,167.44
PARKER                                   SUSAN                                             9/8/2013    $        16.22
SHARP                                    MATTHEW                                          9/13/2013    $       327.00
LAZAR                                    CHANIE                                           9/24/2013    $        27.22
BIANCHI                                  EDWARD                                           9/25/2013    $       419.16
LUNDY                                    LEONARD                                          9/26/2013    $       174.58
LEE SCHIFF                               EUNICE                                           9/27/2013    $       430.06
DELATORRE                                CARLOS          MRS                             10/11/2013    $       127.65
BROWN                                    NATHAN                                          10/28/2013    $         0.05
MAKARENKO                                ANNA                                            10/29/2013    $     1,362.50
GARNER                                   MICHELLE                                         11/8/2013    $        97.29
GARRIGUE                                 AMIS                                             11/9/2013    $        21.67
HALLWORTH                                NINA & CLAIRE                                   11/20/2013    $       212.55
BACK                                     JOACHIM                                         11/29/2013    $         0.35
GAY                                      ORIANE          MS                              11/30/2013    $       430.55
OHAYON                                   MICHELLE                                         12/4/2013    $        23.79
SCHERER                                  PAUL                                            12/15/2013    $        91.89
KALTMAN                                  BETH            MS                              12/16/2013    $       343.70
GORZKOWSKA                               SYLWIA                                          12/17/2013    $       408.28
TOMONOVICH                               DARA                                            12/17/2013    $        95.00
GEDE JR                                  JAMES                                           12/20/2013    $     1,367.47
SANTACROCE                               CHRIS                                           12/22/2013    $        58.09
DARYSHEVA                                ANNA                                              1/2/2014    $         0.50
PUPKO                                    VYACHESLAV                                        1/6/2014    $       167.55
CLAPP                                    PHILLIP                                           1/8/2014    $       371.91
CRAIN                                    KEITH                                            1/14/2014    $     1,556.64
SERDAR                                   OCAL                                             1/20/2014    $         5.00
RIMES‐SHERMET                            LEANN                   PRODIGY ENTERTAINMENT    1/22/2014    $       430.06
DOLL                                     DANIELLE                                         1/29/2014    $       245.25
LESSNAU                                  DANIELLE                                          2/5/2014    $     2,500.00
LY                                       UYEN                                              2/8/2014    $         3.53
SHEPPARD                                 SLOAN                                            2/12/2014    $         2.16
PAULSEN                                  DAVID                                            2/13/2014    $         1.33
Thompson                                 Teddy                                            2/14/2014    $       126.42
KREDEL                                   KURT                                             2/17/2014    $       351.33
OTIS                                     JON                                              2/20/2014    $       126.42
VANELSLANDER                             ART                                              2/26/2014    $        27.22
SHIN                                     XENIA                                             3/1/2014    $        10.90
WANG                                     KIWON                                             3/2/2014    $       225.00
WAGNER                                   DANIEL                                           3/12/2014    $        10.89
SIPKIN                                   CHAD                                             3/14/2014    $       571.59
GRUZEN                                   ERIC                                             3/19/2014    $       348.62
FREY SORRENTI                            MARY                                             3/20/2014    $       419.16
HAROUCHE                                 SIMONE                                           3/21/2014    $       954.49
KIM                                      PIERRE                                           3/22/2014    $        32.66
BRUN                                     CAROLINE                                         3/23/2014    $     1,197.63
CAPPELLUTI                               ROSE                                              4/1/2014    $     1,551.47
SHAPIRO                                  LEIGH                                             4/9/2014    $       247.98
McGowan                                  Thomas                                           4/13/2014    $       570.23
DILGER                                   IVETA                                            4/21/2014    $         5.45
BOAS                                     NATASHA                                          4/22/2014    $        10.89
DAVIS‐RICE                               JUSTIN                                           4/23/2014    $        87.10


304146v1
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42            Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 49 of 91                                                         5
Addendum to Schedule E/F

Last Name                                First Name    Title   Company                     Date         Store Credit
SAMPSON                                  TARA                                               4/24/2014    $         0.57
SINDERBRAND                              GARY                                               4/28/2014    $        27.22
WALLET                                   JESSICA                                            4/29/2014    $       316.00
GREY                                     CASSANDRA     MS                                    5/2/2014    $       119.12
Berbarian                                Daniel                                              5/3/2014    $        76.30
SMALLEY                                  THOMAS                                              5/5/2014    $       545.00
Ross                                     Sam                                                5/14/2014    $       474.15
KARABLIN                                 RUSLAN        MR                                    6/3/2014    $       534.10
RICE                                     REGINA                                              6/4/2014    $       111.05
DIDOMENICO                               VINCENT                                            6/19/2014    $       212.31
lonner                                   david                                              6/24/2014    $       310.65
STOTTER                                  MANUELA                                            7/12/2014    $       592.01
HIXON                                    LAURA                                              7/18/2014    $       111.13
SHERWOOD                                 YUKO                                               7/22/2014    $     1,546.03
FERRIS                                   ROGER                                              7/23/2014    $       488.93
DOR                                      DAPHNA                                             7/25/2014    $       304.85
HARPER MCDONALD                          HEATHER                                            7/29/2014    $        59.88
CHANG                                    HANNA                                              7/30/2014    $        87.50
MARCIANO                                 KYMBERLY                                           7/31/2014    $       708.50
MCCABE                                   GEORGE                                              8/2/2014    $        27.44
mowers                                   terrance                                            8/3/2014    $        57.92
BINDER                                   SHANNAN                                             8/9/2014    $       170.85
ARON                                     MELISSA                                            8/13/2014    $       489.94
TOWNSEND                                 C                                                  8/15/2014    $       189.18
THOMPSON                                 JENNIFER                                           8/18/2014    $        27.19
NAKASHIMA                                ALINE                                              8/22/2014    $       366.51
                                         nicole                                              9/2/2014    $       621.58
SHIROHATA                                KEIKO                                              9/18/2014    $        21.78
SABADASH                                 LARISA                                             9/19/2014    $         8.16
THOMSON                                  LARISSA                                            10/7/2014    $        32.66
CHOUDHARY                                NITIKA                                            10/12/2014    $         5.44
MARTIN                                   LINA                                              10/17/2014    $       434.51
AZADI                                    AMANDA                                            10/24/2014    $        20.15
SUN                                      JUSTIN                                             11/8/2014    $        54.44
Hdagha                                   Jasmina                                           11/14/2014    $         4.75
ANTIN                                    ROBIN                                             12/17/2014    $         5.45
THE NET‐A‐PORTER GROUP LIMITED                                 NET‐A‐PORTER GROUP ‐ UK     12/18/2014    $       300.00
AFLALO                                   YAEL                                              12/20/2014    $       774.91
James                                    Andre                                             12/22/2014    $       948.30
ROBINSON                                 CHANEL                                            12/28/2014    $       707.69
BLUMENCRANZ                              ERIC S.                                             1/2/2015    $       816.56
KORAK                                    ASHLEY                BELLA STRINGS                 1/5/2015    $        31.25
JAILLON                                  OLIVIER       MR                                    1/6/2015    $         5.44
BAKKE                                    ANGELA                                              1/9/2015    $        50.00
TELLER                                   JESSICA                                            1/13/2015    $       899.25
CANER                                    ELISABET                                           1/21/2015    $        43.55
HULL                                     JON                                                1/27/2015    $       118.91
WYLDE                                    BARBARANNE                                         1/28/2015    $        52.20
SHERRILL                                 TOM                                                1/29/2015    $       262.50
Martin                                   Christina             Bride from T.Martin event     2/6/2015    $       109.00
ASCHLEW                                  RACHEL                                              2/8/2015    $       816.56
MASTERSON                                CHRISTINA                                           2/9/2015    $        11.42
REITMAN                                  GILLIAN                                             2/9/2015    $       468.16
ROMERO                                   CHRISTOPHER                                        2/11/2015    $        16.33
Hernandez                                Jessica                                            2/13/2015    $        32.70


304146v1
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 50 of 91                                               6
Addendum to Schedule E/F

Last Name                                First Name      Title   Company         Date         Store Credit
WELCH                                    KARLA                                    2/16/2015    $       572.25
ANDREWS                                  MICHELLE                                 2/17/2015    $       353.84
PETRESCO                                 CARMEL                                   2/17/2015    $       669.85
CANALES                                  ERICA                                    2/19/2015    $       158.97
KHIMJI                                   NAZNIN KARSEN                            2/26/2015    $       654.00
Armstrong                                Laura                                     3/6/2015    $        10.90
TRYBA                                    ANDREW                                   3/21/2015    $        43.24
MOGHAVEN                                 PAULINE                                  3/28/2015    $       301.81
HUDSON                                   PERLA                                     4/4/2015    $       225.09
Morales                                  Isabel                                    4/6/2015    $         2.85
STUDIER‐FELDMAN                          SUZANNE                                  4/12/2015    $         0.59
HICKS                                    LADI                                     4/26/2015    $        71.10
GHIRAN                                   IOANA                                    4/30/2015    $         0.82
HONIG                                    RENEE                                     5/1/2015    $       405.38
NOBRIGA                                  ALYSSA                                    5/2/2015    $       250.70
tunkl                                    david           MR.                       5/2/2015    $     1,476.95
TASSONE                                  GINA                                      5/5/2015    $         0.03
ZAMANI                                   PAYAM                                     5/5/2015    $       367.88
ZENDELL                                  ROBIN                                    5/13/2015    $        22.10
ROSENBERG                                SAMUEL                                   5/19/2015    $       647.81
TRAINA                                   VICTORIA                                 5/21/2015    $        82.00
SIMMONS                                  DAVID                                    5/26/2015    $        16.22
KALAJIAN                                 DAVID                                    5/27/2015    $        29.63
XIN                                      CAMILLE                                   6/7/2015    $       197.19
HOFFNUNG                                 ALEXANDRA                                6/12/2015    $        52.79
BEAL                                     CARTER                                   6/17/2015    $       168.95
BIDEN                                    CAROLINE                                 6/26/2015    $        57.24
HIRSHBERG                                TARA                                      7/1/2015    $       138.43
RATNER                                   BRETT                                     7/1/2015    $       299.75
HSIEH                                    JOANNE          MS                        7/2/2015    $       408.28
adeli                                    katayone                                  7/5/2015    $       272.50
PILUTIK                                  MYLENE                                    7/7/2015    $        21.95
BUSSO                                    LETICIA                                  7/16/2015    $       103.43
ZIPP                                     CARLY                                    7/17/2015    $         0.18
KUZMINA                                  EUGENIA                                  7/19/2015    $     1,480.70
PHIPPS                                   TIFFANY                                  7/26/2015    $       156.78
DZHEUS                                   KARINA                                   7/31/2015    $     1,095.46
LOHAN                                    JAMES                                     8/3/2015    $        38.00
NEMAN                                    FIROOZEH                                  8/6/2015    $        81.75
rin lee                                  chae                                      8/8/2015    $       487.84
MONTES                                   ADRIENNE                                  8/9/2015    $       140.00
POWER                                    KATHERINE               WHO WHAT WEAR    8/10/2015    $       272.50
DICKEN                                   LENA                                     8/15/2015    $        16.62
ASHER                                    DANIELLE                KIKI MODEL       8/18/2015    $       660.32
FISH                                     KRISTEN                                  8/19/2015    $         5.96
BALDWIN                                  AUDRA                                    8/27/2015    $     1,500.00
DIMICOVA                                 VIVIANA                                  8/27/2015    $        95.00
SUNG                                     LAEUN                                     9/7/2015    $        43.83
MANAS                                    LINDSEY                                  9/19/2015    $         5.44
TIMMINS                                  JAMES                                    9/22/2015    $        40.88
TEDHAMS                                  JUNIPER                                  9/25/2015    $       286.13
HALILI                                   ELI                                      9/30/2015    $       381.06
RAEL                                     BRITTANI                                 9/30/2015    $       175.73
FUNK                                     MISSY                                   10/17/2015    $       283.89
RISLEY SMALL                             AMY                                     10/19/2015    $        72.49


304146v1
     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 51 of 91                                               7
Addendum to Schedule E/F

Last Name                                First Name      Title   Company         Date         Store Credit
BEINHORN                                 SUMMER                                  10/21/2015    $         5.45
CAYRE                                    JACK                                    10/23/2015    $     1,051.18
HENNESSY                                 KILIAN                                  10/27/2015    $       500.00
FRANCHI                                  ADRIANA                                  11/3/2015    $       122.48
MILLER                                   CHRISTINA                                11/3/2015    $         3.27
STUART                                   JILL            MS      jill stuart     11/10/2015    $        59.63
BRATO                                    GIORGIO                                 11/11/2015    $        32.70
VANA                                     AVANA                                   11/12/2015    $       571.59
MEHRAN                                   ANNABEL MARIA                           11/18/2015    $       163.50
HOWARD                                   ELIZA                                   11/20/2015    $       566.15
PLANTE                                   JULIEN                                  11/28/2015    $        63.31
BUSTILLOS                                ANAHI                   EVENT MODEL     11/30/2015    $        16.15
HECKAMAN                                 DAVID                                    12/2/2015    $        45.50
ELBAUM                                   DAVID                                    12/4/2015    $       391.95
JOHNSON                                  KEVIN                                    12/4/2015    $        32.93
COTTLE                                   ROBIN                                    12/9/2015    $        45.96
ROTENBERG                                NITZAN                                  12/11/2015    $       146.98
STARK                                    LAURIE                  CHROME HEARTS   12/11/2015    $        32.70
ADORNO                                   FILLIPO                                 12/15/2015    $        21.80
MISCZYNSKI                               MICHAEL         MR                      12/17/2015    $       680.47
LAGRANGE                                 BERNARD                                 12/18/2015    $         2.72
TUCKER                                   SHELLEY         MS                      12/18/2015    $       144.65
ROSS                                     LIBERTY                                 12/21/2015    $       659.45
SPADER                                   JAMES                                   12/21/2015    $       237.33
LAPLAIGE                                 LOUISE                                  12/22/2015    $        47.47
MALAKPOUR                                MARJAN          MS                      12/24/2015    $       354.25
GIOIA                                    DANIEL                                  12/28/2015    $        17.54
MARQUARDT                                JUSTIN                                  12/29/2015    $         0.81
VITALI                                   LINDA                                     1/6/2016    $       408.28
SUH                                      JUNG‐AH                                   1/7/2016    $        27.22
MCCOURT                                  TRAVIS                                    1/8/2016    $     2,027.81
SMITH                                    CINDY                                    1/15/2016    $        33.56
DANIELS                                  CHRISTIAN       MR                       1/16/2016    $       136.25
BRAUN                                    ALESSANDRA                               2/10/2016    $       244.97
LINDSAY                                  KAT                                      2/10/2016    $        90.00
FANE                                     JULIAN                                   2/12/2016    $        32.66
FLORES                                   REGINA                                   2/20/2016    $        59.88
MILLS                                    MICHAEL                                  2/20/2016    $        16.35
MANZI                                    JENELLE                                  2/22/2016    $       408.28
FALLAH                                   PAYAM                                    2/28/2016    $       626.03
FALLAM                                   PAYAH                                    2/28/2016    $        85.00
SNOOKS                                   LINDSAY                                  2/29/2016    $       272.19
HARRIS                                   WILL                                      3/9/2016    $        27.22
SCHOECK                                  VINCENT                                  3/14/2016    $       278.03
LU                                       KEVIN                                    3/22/2016    $       256.15
WEINTRAUB                                MARGARITA                                3/23/2016    $       444.09
ZAMIR                                    JESSICA                                  3/24/2016    $        20.75
FARINA                                   SACHA                                    3/29/2016    $        98.10
GORDON                                   ALEX                                      4/7/2016    $       321.18
BALCZON                                  MELODY                                                $       256.00
BUTLER                                   RONNISHA                                              $       210.80
CARTWRIGHT                               KATIE           MS.     EVENT MODEL                   $       400.00
COOK                                     STEPHANIE                                             $       400.00
Castro                                   Suzette                                               $       150.00
DEKOEKKOEK                               CATHERINE                                             $       400.00


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     16-11314-mew             Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42                     Main Document
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse   Pg 52 of 91                                                            8
Addendum to Schedule E/F

Last Name                                First Name         Title   Company                     Date       Store Credit
Edwin                                    Candice                                                            $       250.00
Fabela                                   Stephanie                                                          $       150.00
Feld                                     Alexandra                                                          $       250.00
Festin                                   Wave                                                               $       150.00
GUVENC                                   SERMIN                                                             $         1.00
Gonzalez                                 Vanessa                                                            $       150.00
Goulet                                   Michelle                                                           $       189.26
HAUSER                                   KAREN                                                              $       750.00
HOUK                                     CANDACE                                                            $       400.00
LEGRECA                                  JODY               MRS.                                            $       162.23
Levy                                     Irina                                                              $       250.00
Perez                                    Vanessa                                                            $       150.00
RAIMONDI                                 THERESE                                                            $       245.25
SKYDELL                                  NICOLE                                                             $       453.46
Sanchez                                  Jason                                                              $       150.00
Solis                                    Lisette                                                            $       150.00
Soria                                    Kathy                                                              $       150.00
Sutherland                               Megan                                                              $       150.00
Venegas                                  Armando                                                            $       150.00
WATKINS                                  SHAUN                      ARIA SKY SUITES CONCIERGE               $       154.00
Total                                                 400                                                   $ 102,110.91




304146v1
            16-11314-mew               Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                                Main Document
                                                                Pg 53 of 91
 Fill in this information to identify the case:

             Kiki Holdings, LLC d/b/a Kiki de Montparnasse
 Debtor name __________________________________________________________________

                                         Southern
 United States Bankruptcy Court for the:______________________ District of     New York
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                         7
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       
       x  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       Phone lease.
                                          ____________________________________            Tangonet, LLC
                                                                                          _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________            4733 Norwich Avenue
                                                                                          _________________________________________________________
                                                                                          Sherman  Oaks, California 91403
                                                                                          _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Time clock lease.
                                          ____________________________________            Paychex  Inc.
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________            1551  S. Washington  Avenue, Suite 200
                                                                                           _________________________________________________________
                                                                                           Piscataway, New Jersey 08854
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
            16-11314-mew                Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                                Main Document
                                                                 Pg 54 of 91
 Fill in this information to identify the case:

             Kiki Holdings, LLC d/b/a Kiki de Montparnasse
 Debtor name __________________________________________________________________

                                         Southern
 United States Bankruptcy Court for the:_______________________               NY
                                                                District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       x   Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

         Kiki LA, LLC                  349 Fifth Avenue
 2.1     _____________________        ________________________________________________________             Park Lane Acquisitions, LLC
                                                                                                           _____________________             
                                                                                                                                             x D                   
         d/b/a Kiki de Montparnasse   Street                                                                                                 E/F
                                       4th Floor
                                      ________________________________________________________                                                G
                                       New York                NY              10016
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________
        Kiki LV, LLC                  349 Fifth Avenue
                                      ________________________________________________________           The Crystals at CityCenter, LLC
                                                                                                          _____________________              
                                                                                                                                             x D
        d/b/a Kiki de Montparnasse
                                      Street                                                                                                 E/F
                                      4th Floor
                                      ________________________________________________________                                                G

                                      New   York              NY              10016
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
               16-11314-mew                            Doc 1             Filed 05/06/16 Entered 05/06/16 12:10:42                                                                Main Document
                                                                                     Pg 55 of 91

 Fill in this information to identify the case:

             Kiki Holdings, LLC d/b/a _____
 Debtor name ____________________________ Kiki_____
                                               de Montparnasse
                                                    _____ ______ _____ _____ _____ _

                                           Southern
 United States Bankruptcy Court f or the: _______________________              NY
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                  0
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               1,115,354.70
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                  1,115,354.70
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                    36,915.60
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  266,191.70
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +      10,738,557.56
                                                                                                                                                                                                $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................         11,008,664.86
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
16-11314-mew    Doc 1   Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                    Pg 56 of 91



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:
                                           Chapter 7
KIKI HOLDINGS, LLC d/b/a Kiki de
Montparnasse,
                                           Case No.
                         Debtor.

                              LIST OF CREDITORS




                                       1
16-11314-mew       Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                          Pg 57 of 91



Active Staffing
41 W 33rd Street
New York, NY 10001

ADT Security Services
PO Box 371878
Pittsburgh, PA 15250-7878

Akabas & Sproule
488 Madison Avenue, 11th Floor
New York, NY 10022

Armor Jewelry
111 Kent Avenue, #1A
Brooklyn, NY 11249

Beer-Stern Company
PO Box 155
West Sayville, NY 11796

Berke-Weiss & Pechman LLP
488 Madison Avenue, 11th Floor
New York, NY 10022

XYZ Two Way Radio Service, Inc.
PO Box 159033
Brooklyn, NY 11215

Bossa T.A.S.
Guzelevler Mah. Girne Bulvari No:296
01310 Yuregir/Adana – Turkiye

Bottonificio BAP SPA
Via Gennaro Sora 16/A
24060 Villongo (Bergamo) Italy

Bucol
4-6 rue Marius Chardon
F-69310 Pierre Benite, France

By Killian
60 Broad Street, Suite 3502
New York, NY 10004

Cadolle Diffusion
255 rue Saint Honore

                                             2
16-11314-mew       Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                           Pg 58 of 91



75001 Paris, France

Calamo Silk, Inc.
251 W 39th Street, 5th Floor
New York, NY 10018

Cheynet & Fils
Route du Fau- B.P.7
Saint-Just-Malmont, France

Clique Media Inc.
360 N La Cienega Blvd., 3rd Floor – B
Los Angeles, CA 90048

Consolidated Edison
JAF Station
PO Box 1702
New York, NY 10116-1702

Crave – Incoqnito
1234 Folsom Street
San Francisco, CA 94103

William J. Pierce IV
171 W 133rd Street, #3B
New York, NY 10030

NYS Department of Taxation & Finance
PO Box 4127
Binghamton, NY 13902-4127

Xt Services
350 Market Street, Suite 5
Saddle Brook, New Jersey 07663

DKL Services, Inc.
529 W Broadway, Suite 1C
Long Beach, NY 11561

E. Bosselli & C.
Via Carducci, 11
22077 Olgiate Comasco (Como), Italy

E.R. Butler & Co
55 Prince Street
New York, NY 10012

                                              3
16-11314-mew       Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                           Pg 59 of 91




Eastern Silk Mills Inc.
148 W 37th Street, 3rd Floor
New York, NY 10018

ExactTarget, Inc.
26487 Network Place
Chicago, IL 60673-1264

Exl Ac & Refrigeration
53-43 66th Street
Maspeth, NY 11378

Farameh Media, LLC
217 Thompson Street, 308
New York, NY 10012

FedEx
PO Box 371461
Pittsburgh, PA 15250-7461

Ferny Chung
50-17 5th Street, Apt 2B
Long Island City, NY 11101

Finest Technical Group Inc.
112 Katan Avenue
Staten Island, NY 10308

Fleck & Co. GmbH
PO Box 436
Glen Falls, NY 12801

Fourthfloor Fashion Talent
10100 Santa Monica Blvd., Suite 900
Los Angeles, CA 90067-4100

G & G Cleaners
46 Grand Street
New York, NY 10012

GC H.V.A.C. Inc.
96 Bismarck Avenue
Valley Stream, NY 11581




                                              4
16-11314-mew      Doc 1    Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                       Pg 60 of 91



GFI Insurance Services
140 Broadway, 41st Floor
New York, NY 10005

GNN Transportation Services, LLC
436 B Lawton Avenue
Cliffside Park, New Jersey 07010

Graphic Image, Inc.
305 Spagnoli Road
Melville, NY 11747

Guardian
State Mandated Disability
PO Box 824418
Philadelphia, PA 19182-4418

Guide Fabrics
262 W 38th Street
New York, NY 10018

H2 Business Management, LLC
201 Santa Monica Blvd., #480
Santa Monica, CA 90401

Heather Huey
1684 Gates Avenue, 2nd Floor
Ridgewood, NY 11385

Henry Bertrand
c/o Blue Starr Silk Corp.
108 W 39th Street, Room 401
New York, NY 10018

Hurel
Rue Olivier Metra
75020 Paris, France

Incoqnito
719 Clementina
San Francisco, CA 94103

Jan – Pro Cleaning System
1050 E. Flamingo Road, Suite #N-334
Las Vegas, NV 89119



                                          5
16-11314-mew       Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                           Pg 61 of 91



Jens Mortensen Photography Inc.
330 W 38th Street, 15th Floor
New York, NY 10018

JKR Management LLC
506 Westerly Drive
Marlton, NJ 08053

Martin Sahringer
Unit 26 the Laundry, 2-18 Warburton Road
London e83fn, United Kingdom

Adam Kmiec
adamkmiec@gmail.com

JR de Bellard Fine Jewelry
36 NE 1st Street, Suite 810
Miami, FL 33132

Kama Carnes
2 King Street, Apt. 6F
New York, NY 10012

King Garment Care
220 Avenue of the Americas
New York, NY 10014

Ladas & Parry LLP
26 W 61st Street
New York, NY 10023

Leila Sharifi
26 Knoll Lane
Glen Head, NY 11545

Leloi AB
5799 Fontanoso Way
San Jose, CA 95138-1015

Lu Trimming Corp.
306 W 37th Street, 4th Floor
New York, NY 10018

Lyons Jewelry
190 Bedford Avenue
Brooklyn, NY 11249

                                              6
16-11314-mew       Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                           Pg 62 of 91




M.X. Data, Inc.
118 E 28th Street, Suite 608
New York, NY 10016

Magento
10441 Jefferson Blvd., Suite 200
Culver City, California 90232

Mario Cucchetti Tessuti Srl
c/o Renavazio LLC
1400 Broadway, Suite #3607
New York, NY 10018

McLane Security
247 W 35th Street, Suite 600
New York, NY 10001

Megasol USA Group Inc.
8701 Tonnelle Avenue
North Bergen, NJ 07047

Mikan Printing, Inc.
168-B Raceway Drive
Mooresville, NC 28117

MT Jersey USA LLC
180 Chatham Street
Chatham, NJ 07928

Victoria F. Gingrich
PO Box 7
Circleville, NY 10919

NYC Messenger Inc.
15 E 40th Street
New York, NY 10016

Shuang Linda Teng
79 Decatur Road
New Rochelle, NY 10801

Maschentex GmbH
Konigstrasse 34, 89165
Dietenheim, Germany



                                              7
16-11314-mew         Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                            Pg 63 of 91



Parallax Press
46 Development Road
Fitchburg, MA 01420

Petit Boudoir
Oeder Weg 23
60318 Frankfurt am Main, Germany

Pinnacle Jewelry, Inc.
34 W 46th Street, Suite 500
New York, NY 10036

Pormanteau Properties, LLC
201 Santa Monica Blvd, Suite 480
Santa Monica, CA 90401

Presentation Graphics
1417 53rd Street
Brooklyn, NY 11219

Preview Textile Group
225 W 37th Street, 11th Floor
New York, NY 10018

Principal Life Insurance Company
PO Box 10372
Des Moines, Iowa 50306-0372

Readyrefresh by Nestle
PO Box 856192
Louisville, KY 40285-6192

RIL-Metal
Via del Lavoro, 19
Telgate BG, Italy

Riverpack USA Corp.
c/o Guibert & Co.
149 E 36th Street
New York, NY 10016

Robyn L. Williamson
310 Greenwich Street, #6K
New York, NY 10013




                                               8
16-11314-mew        Doc 1    Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                         Pg 64 of 91



Salesforce.com, Inc.
PO Box 203141
Dallas, TX 75320-3141

Santosha, Inc.
1547 6th Street, Suite 100
Santa Monica, CA 90401

Santoul SA
Parc Activities Les Ayats
69390 Millery, France

Sasha Samuel
75 Roebling Street, Apt 3D
Brooklyn, NY 11211

Shindo USA Inc.
152 W 36th Street
New York, NY 10018

Simply Bliss Inc.
125 Maiden Lane, #201
New York, NY 10038

Smith Global LTD
Third Floor Offices
Shepherds Building, Rockley Road
London, United Kingdom

SML (USA) Inc.
77 Main Street
Lewiston, Maine 04240-5803

Solstiss Inc.
561 7th Avenue, 16th Floor
New York, NY 10018

Sohpie Hallette
Grupo Textile
350 W 42nd Street, Suite 47A
New York, NY 10036

Staples Business Advantage Department NY
PO Box 415256
Boston, MA 02241-5256



                                            9
16-11314-mew       Doc 1    Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                        Pg 65 of 91



Stretchline Holdings, LTD
Lot 89, BEPZ
Walgama, Malwana, Sri Lanka

Sweden Unlimited
199 Lafayette Street, Suite 4A2
New York, NY 10012

Tangonet LLC
4733 Norwich Avenue
Sherman Oaks, CA 91403

Tesso S.P.A.
561 7th Avenue, 4th Floor
New York, NY 10018

Toby Evers Consulting LLC
60 Plaza Street E, 2M
Brooklyn, NY 11238

Toki Sen-i Co., LTD
4-4-7, Kawaramachi
Chuo-ku Osaka, 541-0048 Japan

Topco Sales
PO Box 515722
Los Angeles, CA 90051-5202

Uline
PO Box 88741
Chicago, IL 60680-1741

UPS Supply Chain Solutions, Inc.
28013 Network Place
Chicago, Illinois 60673-1280

Vena Casa Design
PO Box 3597
Poole BH149ZL, United Kingdom

Verizon
PO Box 15124
Albany, NY 12212-5124




                                           10
16-11314-mew        Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                            Pg 66 of 91



Vibe Design, LLC
407 Pleasant Street, Suite 14
Fall River, MA 02721

Missy Ann Funk
missyannfunk@gmail.com

Dina A. Sammakieg
dinasam@gmail.com

Christopher Sandoval
sandovalchristopher@gmail.com

Van Repchinsky
10208-72 Street
Edmonton, Alberta T6A2W5
Canada

Diego Rivera
2185 Hayes Street
San Francisco, CA 94117

Pavleta Alexieva
Alexieva.pavleta@gmail.com

Nancy Meyer Fine Lingerie
1318 Fifth Avenue
Seattle, WA 98101

Teseo SPA/Rossana Valentino
561 7th Avenue, 4th Floor
New York, NY 10018

The Coveteur Inc.
24 Duncan Street, Suite 400
Toronto, Ontario M5V2B8 Canada

Sophie Lea
sophie@zacara.com

Jon Rubin
c/o H2 Management
201 Santa Monica Blvd #480
Santa Monica, CA 90407

Jon M Rubin Trust

                                               11
16-11314-mew        Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                            Pg 67 of 91



c/o H2 Management
201 Santa Monica Blvd #480
Santa Monica, CA 90407

Todd Rubin
c/o H2 Management
201 Santa Monica Blvd #480
Santa Monica, CA 90407

Miles Rubin
3035 Chain Bridge Road NW
Washington, DC 20016

Andrew Rosen
c/o Link Theory Holdings
38 Gansevoort Street, 5th Fl.
New York, NY 10014




                                               12
           16-11314-mew                Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                               Main Document
                                                                Pg 68 of 91

Fill in this information to identify the case:

             Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor name __________________________________________________________________
                                             Southern
United States Bankruptcy Court for the: ______________________              New York
                                                               District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               x   Operating a business
                                                01/01/2016 to                                                                         383,877
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                           Filing date            Other _______________________    $________________


           For prior year:                      01/01/2015
                                           From ___________         to     12/31/2015
                                                                           ___________         x
                                                                                                  Operating a business               2,478,245
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:            01/01/2014
                                           From ___________         to     12/31/2014
                                                                           ___________         
                                                                                               x   Operating a business
                                                                                                                                      2,675,543
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     x   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
             16-11314-mew                 Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42                                Main Document
                                                                 Pg 69 of 91
Debtor
                    Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                    _______________________________________________________                    Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None           See additional pages attached.
             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
             Ocal Serdar
             __________________________________________         4/29/16
                                                                ________         7,000
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             262 Grant Avenue
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                     
                                                                                                            x     Services
             Cliffside Park, NJ 07010
             __________________________________________         ________                                         Other _______________________________
             City                          State    ZIP Code
              
     3.2.
             Becker, Glynn, Muffly, Chassin & Hosinski LLP
             __________________________________________         4/29/16
                                                                ________         20,000
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             299 Park Avenue
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                     
                                                                                                            x     Services
             New York, NY 10171
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     x      None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
             16-11314-mew               Doc 1           Filed 05/06/16 Entered 05/06/16 12:10:42                                         Main Document
                                                                    Pg 70 of 91
Debtor
                    Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                    _______________________________________________________                                Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
           None
            Creditor’s name and address                             Description of the property                                    Date                Value of property
     5.1.
            Wittels Holdings, LLC                                   New York retail and office leasehold at 102                    April 14, 2016       Undetermined
            __________________________________________              ___________________________________________                    ______________      $___________
            Creditor’s name
            102 Franklin Street
            __________________________________________              Franklin Street, New York, New York 10013 and
                                                                    ___________________________________________
            Street
            __________________________________________              security deposit was surrendered.
                                                                    ___________________________________________
            New  York                 NY       10013
            __________________________________________
            City                          State       ZIP Code

     5.2.
            79 Greene LLC
            __________________________________________              Security deposit surrendered to former
                                                                    ___________________________________________                    November 9, 2015
                                                                                                                                   _______________    100,000
                                                                                                                                                    $___________
            Creditor’s name
            c/o Regal Home Collection
            __________________________________________              landlord at 79 Greene Street, New York,
                                                                    ___________________________________________
            Street
            295 Fifth Avenue, Suite 1012
            __________________________________________              NY 10013.
                                                                    ___________________________________________
            New York, NY 10016
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     x
           None
             Creditor’s name and address                              Description of the action creditor took                      Date action was        Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________       $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                   Nature of case                           Court or agency’s name and address                   Status of case

     7.1.      See additional pages attached.
             _________________________________            ______________________________          __________________________________________               Pending
                                                                                                  Name
                                                                                                                                                           On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                   Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State              ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                           Pending
     7.2.
             _________________________________            ______________________________          __________________________________________               On appeal
                                                                                                  Name

             Case number                                                                          __________________________________________
                                                                                                                                                           Concluded
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State      ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
             16-11314-mew                Doc 1          Filed 05/06/16 Entered 05/06/16 12:10:42                                  Main Document
                                                                    Pg 71 of 91
                     Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor               _______________________________________________________                           Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     x      None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     x
           None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).

              Theft of retail goods in New York Store
             ___________________________________________             $0
                                                                    ___________________________________________
                                                                                                                                8/1/15
                                                                                                                                _________________    1,250
                                                                                                                                                    $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
            16-11314-mew               Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                               Main Document
                                                                Pg 72 of 91
Debtor
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

           Becker, Glynn, Muffly, Chassin & Hosinski LLP
           __________________________________________
   11.1.                                                      ___________________________________________                April 29, 2016
                                                                                                                         ______________        20,000
                                                                                                                                             $_________
            Address
                                                              ___________________________________________
            299 Park Avenue
            __________________________________________
            Street
            __________________________________________
            New York                 NY       10171
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            www.beckerglynn.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     x     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
            16-11314-mew               Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42                                  Main Document
                                                               Pg 73 of 91
Debtor
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     x     None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.     79 Greene Street                                                                                    From       01/01/2006
                                                                                                                            ____________       To
                                                                                                                                                    01/15/2016
                                                                                                                                                    ____________
            _______________________________________________________________________
            Street
            _______________________________________________________________________
             New York                                        NY    10012
            _______________________________________________________________________
            City                                             State         ZIP Code

            102 Franklin Street                                                                                             01/15/2016               04/16/2016
   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            New York                                   NY          10013
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
            16-11314-mew                     Doc 1     Filed 05/06/16 Entered 05/06/16 12:10:42                                   Main Document
                                                                   Pg 74 of 91
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor             _______________________________________________________                           Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     x     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     x                                                                       Customer and electronic data is stored and administered by third-party vendors.
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
              
                      No
               x      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                   
                   x   No. Go to Part 10.
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                       
                       x    No
                           Yes



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
            16-11314-mew                  Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42                                Main Document
                                                                 Pg 75 of 91
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor             _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     x     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

          None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

              Kiki Holdings, LLC
             ______________________________________
                                                           Ocal Serdar
                                                          __________________________________          Jewelry and cash.
                                                                                                      __________________________________                 No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                     
                                                                                                                                                     x    Yes
             349 Fifth Avenue
            ______________________________________
            Street                                        __________________________________          __________________________________             
            ______________________________________
            New York           NY         10016
            ______________________________________         Address                                                                                   
            City                  State       ZIP Code
                                                          349 Fifth Avenue
                                                          ____________________________________

                                                          New York, New York 10016
                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?

             OZ Moving & Storage                           Ocal Serdar, Jon Rubin                      Retail and office inventory, records.
                                                                                                                                                       No
             ______________________________________
            Name
                                                          __________________________________          __________________________________              
                                                                                                                                                      x Yes
            498 Nepperhan Avenue
            ______________________________________
                                                          __________________________________          __________________________________              
            Street                                        __________________________________          __________________________________
            ______________________________________
            Yonkers            NY        10701
            ______________________________________          Address                                                                                   
            City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
          16-11314-mew                  Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                                   Main Document
                                                                 Pg 76 of 91
                 Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor           _______________________________________________________                              Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     x   None

          Owner’s name and address                              Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
                                                                __________________________________        __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     x   No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________         Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     x   No
        Yes. Provide details below.
         Site name and address                           Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State     ZIP Code       City                   State      ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 9
            16-11314-mew                  Doc 1        Filed 05/06/16 Entered 05/06/16 12:10:42                                 Main Document
                                                                   Pg 77 of 91
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor             _______________________________________________________                           Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     x     No
          Yes. Provide details below.

           Site name and address                        Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________          ______________________________________           __________________________________           __________
            Name                                        Name
                                                                                                         __________________________________
            __________________________________          ______________________________________
            Street                                      Street                                           __________________________________
            __________________________________          ______________________________________
            __________________________________          ______________________________________
            City                  State     ZIP Code    City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                    Describe the nature of the business                      Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
                                                                                                                       2 ___
                                                                                                                  EIN: ___ 6 – ___
                                                                                                                                0 ___
                                                                                                                                   6 ___
                                                                                                                                      3 ___
                                                                                                                                         8 ___
                                                                                                                                            8 ___
                                                                                                                                               8 ___
                                                                                                                                                  3
   25.1.    Kiki LA, LLC
            __________________________________           Los Angeles retail subsidiary.
                                                         _____________________________________________
            Name                                                                                                  Dates business existed
            formerly at 8481 Melrose Place               _____________________________________________
            __________________________________
            Street                                       _____________________________________________
            __________________________________                                                                    From 11/14/06
                                                                                                                       _______      present
                                                                                                                                To _______
            Los Angeles, CA 90069
            __________________________________
            City                  State     ZIP Code




            Business name and address                    Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                          Do not include Social Security number or ITIN.

             Kiki LV, LLC                                Las Vegas retail subsidiary.                                   2 ___
                                                                                                                  EIN: ___ 7 – ___
                                                                                                                                0 ___
                                                                                                                                   5 ___
                                                                                                                                      1 ___
                                                                                                                                         1 2     8 4
                                                                                                                                            ___ ___ ___
            __________________________________           _____________________________________________
            Name
                                                                                                                  Dates business existed
            formerly at 3720 Las Vegas Blvd. S.          _____________________________________________
            __________________________________
            Street                                       _____________________________________________
             Suite 226                                                                                                 6/24/09            present
            __________________________________                                                                    From _______         To _______
             Las Vegas, NV 89109
            __________________________________
            City                  State     ZIP Code



            Business name and address                    Describe the nature of the business                      Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.

   25.3.    __________________________________           _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                         _____________________________________________            Dates business existed
            __________________________________
            Street                                       _____________________________________________
            __________________________________
            __________________________________
                                                                                                                  From _______         To _______
            City                  State     ZIP Code




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 10
            16-11314-mew                 Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42                                Main Document
                                                                 Pg 78 of 91
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor            _______________________________________________________                          Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service

                                                                                                                     2007
                                                                                                                From _______           present
                                                                                                                                   To _______
   26a.1.     Thomas  E. Francis
              __________________________________________________________________________________
              Name
              Thomas E Francis LLC
              __________________________________________________________________________________
              Street
              616 N. Smead Way
              __________________________________________________________________________________
              San Dimas                                     CA                  91773
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                      2007
                                                                                                                From _______           present
                                                                                                                                   To _______
   26a.2.
              Ocal Serdar
              __________________________________________________________________________________
              Name
              Kiki Holdings, LLC
              __________________________________________________________________________________
              Street
              349 Fifth Avenue
              __________________________________________________________________________________
              New York                                      NY                 10016
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                        2007
                                                                                                                From _______             present
                                                                                                                                   To _______
         26b.1.      Thomas  E. Francis
                     ______________________________________________________________________________
                     Name
                     Thomas  E Francis LLC
                     ______________________________________________________________________________
                     Street
                     616 N. Smead Way
                     ______________________________________________________________________________
                     San Dimas                                     CA                  91773
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            x     None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.      ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
              16-11314-mew                Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42                               Main Document
                                                                  Pg 79 of 91
                     Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor               _______________________________________________________                        Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.1.
                       The debtor provided financial information to possible investors. The debtor
                       ______________________________________________________________________________
                       Name
                       will furnish to the Trustee the contact information for those investors under
                       ______________________________________________________________________________
                       Street
                       separate cover.
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
 
  x         Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory

               Joanne Gamble
              ______________________________________________________________________               3/2015
                                                                                                   _______
                                                                                                                   Only quantity available, not value.
                                                                                                                 $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Josh Lopez
               ______________________________________________________________________
              Name
              Gazelle Intense Solutions
              ______________________________________________________________________
              Street
               Contact information to be provided to the Trustee.
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
            16-11314-mew               Doc 1       Filed 05/06/16 Entered 05/06/16 12:10:42                                 Main Document
                                                               Pg 80 of 91
                   Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Debtor             _______________________________________________________                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______       $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
            Jon Rubin
            ____________________________        428 Alta Avenue, Santa Monica, CA 90402
                                                _____________________________________________        Managing Member
                                                                                                     ____________________________            31.63%
                                                                                                                                             _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        No
 
  x        Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
             Kama Carnes
            ____________________________         2 King Street # 6F, New York, NY 10012
                                                _____________________________________________         CEO
                                                                                                      ______________________         From _____   3/2016
                                                                                                                                          1/07 To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
 
  x        Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    Kama Carnes
            ______________________________________________________________            $275,000                            Biweekly            Annual salary
                                                                                                                                              ____________
                                                                                      _________________________           _____________
            Name
            2 King Street #6F
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
             New York                            NY           10012
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________
            Chief Executive Officer
            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
            16-11314-mew                   Doc 1          Filed 05/06/16 Entered 05/06/16 12:10:42                              Main Document
                                                                      Pg 81 of 91
                  Kiki Holdings. LLC d/b/a Kiki de Montparnasse
 Debtor                                                                                                 Case number (•tknowr•l· - - -- - -- -- - - - - - -
                 Name




             Name and address of recipient


    30.2
             Name


             Street




                                                           State        ZIP Code


             Relationship to debtor




  31 . Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     0     No
     l!l   Yes. Identify below.

             Name of the parent corporation                                                                 Employer Identification n umber of the parent
                                                                                                            corporation
             The debtor is the parent corporation.                                                          EIN:



  32. Within    6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     [) No
     0     Yes. Identify below.


            Name of the pension fund                                                                        Employer Identification number of the pension fund

                                                                                                            EIN:



                  Signature and Declaration


           WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
           connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
           18 U.S.C. §§ 152, 1341 , 1519, and 3571.

           I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
           is true and correct.

           I declare under penalty of perju ry that the foregoing is true and correct.

           Executed on      0   S /0 6/ 2 v i        Ia
                             MM I DD Jyyyy




                        ~
           Signature of individual signing on behalf of the debtor
                                                                                         Printed name   Ocal ~

                                                                                                            S erda r
           Position or relationship to debtor   Authorized Representative



      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
      0     No
      [I Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 14
16-11314-mew       Doc 1    Filed 05/06/16 Entered 05/06/16 12:10:42     Main Document
                                         Pg 82 of 91
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Statement of Financial Affairs
Part 2, Question 3 Additional Page


3.3
Creditor’s Name: Xt Services
Creditor’s Address: 350 Market Street, Suite 5
                    Saddle Brook, NJ 07663
Date: 4/12/16
Amount: $9,000
Reasons for payment: IT services.


3.4
Creditor’s Name: State of New York, Department of Taxation and Finance
Creditor’s Address: WA Harriman Campus
                    Albany, NY 12227
Date: 3/21/16 and 4/8/16
Amount: $13,418.12
Reasons for payment: sales tax payments


3.5
Creditor’s Name: Wittels Holdings, LLC
Creditor’s Address: 102 Franklin Street
                    New York, NY 10013
Date: 3/3/16 and 3/14/16
Amount: $27,675.00
Reasons for payment: secured debt, rent payments.

3.6
Creditor’s Name: Aetna Life Insurance Company
Creditor’s Address: PO Box 7247-0213
                    Philadelphia, PA 19170-0213
Date: 2/19/16 and 3/15/16
Amount: $14,657.10
Reasons for payment: employee health insurance payments.


3.7
Creditor’s Name: The Crystals at City Center
Creditor’s Address: PO Box 77712
                    Las Vegas, NV 89177
Date: 3/1/16
Amount: $10,802.20
Reasons for payment: secured debt, rent payments.



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16-11314-mew     Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42   Main Document
                                         Pg 83 of 91
In re Kiki Holdings, LLC d/b/a Kiki de Montparnasse
Statement of Financial Affairs
Part 2, Question 3 Additional Page


3.8
Creditor’s Name: New York State Department of Labor
Creditor’s Address: Unemployment Insurance Department
                    PO Box 15130
                    Albany, NY 12212-5130
Date: 4/4/16
Amount: $7,007.03
Reasons for payment: unemployment insurance.




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                            16-11314-mew       Doc 1   Filed 05/06/16 Entered 05/06/16 12:10:42          Main Document
                                                                   Pg 84 of 91



           Debtor: Kiki Holdings, LLC d/b/a Kiki de Montparnasse



                                                       Part 3: Legal Actions or Assignments.

                                                                                             Court or agency’s name and
           No.          Case Title             Case No.           Nature of Case                                                Status
                                                                                                        address
           7.1   Jens Mortensen               cv-006282-    Litigation.                    New York County Civil Court       Pending.
                 Photography Inc. v. Kiki     16/NY                                        111 Centre Street
                 Holdings, LLC d/b/a Kiki                                                  New York, NY 10013
                 de Montparnasse
           7.2   24 Seven Inc. v. Kiki        cv-024461-    Litigation brought by          New York County Civil Court       Concluded.
                 Holdings, LLC d/b/a Kiki     15/NY         personnel service for breach   111 Centre Street
                 de Montparnasse                            of agreement and unpaid        New York, NY 10013
                                                            invoices.
           7.3   Performance Print Servs.     cv-044046-    Litigation.                    New York County Civil Court       Pending.
                 Inc. v. Kiki Holdings LLC,   07/NY                                        111 Centre Street
                 dba Kiki De Montparnasse                                                  New York, NY 10013
           7.4   Testa, et al. v. Kiki        N/A           Mediation over                 Clark County, Nevada Litigation   Concluded.
                 Holdings LLC dba Kiki de                   misclassification of           Services Mediation
                 Montparnasse                               employees under the labor
                                                            law.
           7.5   Dadzie v. 79 Greene, LLC     309198/2012   Personal injury.               Supreme Court of New York,        Concluded.
                 and Kiki Holdings, LLC                                                    Bronx County
                 d/b/a Kiki de                                                             851 Grand Concourse
                 Montparnasse                                                              Bronx, NY 10451




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16-11314-mew        Doc 1     Filed 05/06/16 Entered 05/06/16 12:10:42            Main Document
                                          Pg 85 of 91



BECKER, GLYNN, MUFFLY, CHASSIN & HOSINSKI LLP
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Phone: (212) 888-3033
Fax: (212) 888-0255
Chester B. Salomon
csalomon@beckerglynn.com

Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:
                                                   Chapter 7
KIKI HOLDINGS, LLC d/b/a Kiki de
Montparnasse,
                                                   Case No.
                               Debtor.

                         CORPORATE DISCLOSURE STATEMENT

         Pursuant to Bankruptcy Rules 1007(a)(1) and 7007.1, and to enable judges of the Court to

evaluate possible disqualification or recusal, Kiki Holdings, LLC d/b/a Kiki de Montparnasse

(the “Debtor”), by and through its attorneys, Becker, Glynn, Muffly, Chassin & Hosinski LLP,

hereby certifies that (i) the Debtor has no parent corporation and (ii) no publicly held corporation

directly or indirectly owns 10% or more of any class of its equity interests.




                           [Remainder of page intentionally left blank.]
           16-11314-mew    Doc 1   Filed 05/06/16 Entered 05/06/16 12:10:42     Main Document
                                               Pg 86 of 91



           Dated: May 6, 2016
                  New York, New York

                                                            BECKER, GLYNN, MUFFLY,
                                                            CHASSIN & HOSINSKI LLP


                                                      By:   /s/ Chester B. Salomon
                                                            Chester B. Salomon
                                                            299 Park Avenue, 16th Floor
                                                            New York, New York 10171
                                                            Phone: (212) 888-3033
                                                            Fax: (212) 888-0255
                                                            csalomon@beckerglynn.com

                                                            Attorneys for the Debtor




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16-11314-mew        Doc 1     Filed 05/06/16 Entered 05/06/16 12:10:42             Main Document
                                          Pg 87 of 91


                                     KIKI HOLDINGS, LLC

                     Action in Writing by Members In Lieu of a Meeting
       The undersigned, being the Members holding the majority of outstanding Units ofKiki
Holdings, LLC (the "Company"), a New York limited liability company, hereby adopt the
following resolutions by written consent pursuant to Section 407 of the Business Corporation
Law of the State of New York and Section 3 .9(e) of the Amended and Restated Operating
Agreement of the Company:

       WHEREAS, the undersigned deem it desirable and in the best interests of the Company,
       its creditors and its members to cause the Company to file a voluntary petition (a
       "Petition") for relief under the provisions of chapter 7 of title 11 of the United States
       Code (the "Bankruptcy Code") in the United States Bankruptcy Court for the Southern
       District ofNew York, or such other court as the Managing Member shall determine to be
       appropriate (the "Bankruptcy Court").
       WHEREAS, the Company is the sole member of Kiki LA, LLC, a California limited
       liability company, and Kiki LV, LLC, a Nevada limited liability company (together, the
      "Subsidiaries"); and
       WHEREAS, the undersigned deem it desirable and in the best interests of the
      Subsidiaries and the Subsidiaries' creditors that the Subsidiaries flle petitions for relief
      under the provisions of chapter 7 of the Bankruptcy Code in the Bankruptcy Court.

       NOW, THEREFORE, BE IT RESOLVED, that the Company shall be, and it hereby is,
      authorized to file a Petition under chapter 7 of the Bankruptcy Code in the Bankruptcy
      Court, and to perform any and all such acts as are reasonable, advisable, expedient,
      convenient, proper or necessary toe effect any of the foregoing; and it is

      FURTHER RESOLVED, that the Company shall be, and it hereby is, authorized to
      cause the Subsidiaries to file a Petition under chapter 7 of the Bankruptcy Code in the
      Bankruptcy Court, and to perform any and all such acts as are reasonable, advisable,
      expedient, convenient, proper or necessary to effect any of the foregoing; and it is
      FURTHER RESOLVED, that Jon Rubin, the Managing Member, or Ocal Serdar,
      Controller of the Company (the "Controller''), are hereby authorized and empowered, as
      and when he deems appropriate, to execute and verifY on behalf of, and in the name of,
      the Company, on its own behalf and on behalf of the Subsidiaries, any Petitions under
      chapter 7 of the Bankruptcy Code, to cause such Petition(s) and any affidavits, forms,
      schedules, lists, motions, applications or any other pleadings or documents that are
16-11314-mew       Doc 1      Filed 05/06/16 Entered 05/06/16 12:10:42           Main Document
                                          Pg 88 of 91



      necessary or appropriate to file voluntary bankruptcy cases with respect to the Company
     and the Subsidiaries to be filed in the Bankruptcy Court, and to engage Becker, Glynn,
     Muffiy, Chassin & Rosinski LLP as counsel to the Company and the Subsidiaries and to
     . appear on their behalf at meetings of creditors; and it is
     FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by the
     Company, on its own behalf and on behalf of the Subsidiaries, or any officer of the
     Company in connection with the filing of any Petitions under chapter 7 of the Bankruptcy
     Code, or otherwise in connection with the chapter 7 case(s) of the Company and the
     Subsidiaries, or any matter related thereto, or by virtue of these resolutions be, and
     hereby are, in all respects ratified, confirmed and approved; and it is

     FURTHER RESOLVED, that the Controller is hereby authorized to certify and deliver,
     to any person to whom such certification and delivery may be deemed necessary or
     appropriate in the opinion of the Controller, a true copy of the foregoing resolutions; and
     itis
     FURTHER RESOLVED, that these resolutions may be executed in one or more
     counterparts, and when each of the undersigned have executed at least one cmmterpart
     hereof, then the foregoing preamble and resolutions shall be deemed to be adopted and in
     full force and effect.


IN WITNESS THEREOF, I hereto set my hand this£ of M ~
                                                          ;-"                  '2016.




                                            . Miles Rubin, [ irector




                                                                \
                                             Todd Rubin, Director
           16-11314-mew         Doc 1    Filed 05/06/16 Entered 05/06/16 12:10:42           Main Document
                                                     Pg 89 of 91



           BECKER, GLYNN, MUFFLY, CHASSIN & HOSINSKI LLP
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           Chester B. Salomon
           csalomon@beckerglynn.com

           Attorneys for the Debtor

           UNITED STATES BANKRUPTCY COURT
           SOUTHERN DISTRICT OF NEW YORK
           In re:
                                                              Chapter 7
           KIKI HOLDINGS, LLC d/b/a Kiki de
           Montparnasse,
                                                              Case No.
                                          Debtor.

                      DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                    See attached statement of Chester B. Salomon.


                    I certify that the attached contains a complete statement of any agreement or arrangement

           for payment to me for representation of the Debtor in this bankruptcy proceeding.


           Dated: May 6, 2016
                                                                       BECKER, GLYNN, MUFFLY,
                                                                       CHASSIN & HOSINSKI LLP

                                                                 By:   /s/ Chester B. Salomon
                                                                       Chester B. Salomon
                                                                       299 Park Avenue, 16th Floor
                                                                       New York, New York 10171
                                                                       Phone: (212) 888-3033
                                                                       Fax: (212) 888-0255
                                                                       csalomon@beckerglynn.com

                                                                       Attorneys for the Debtor




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16-11314-mew              Doc 1         Filed 05/06/16 Entered 05/06/16 12:10:42                                   Main Document
                                                    Pg 90 of 91



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:

KIKI HOLDINGS, LLC d/b/a Kiki de
Montparnasse, KIKI LA, LLC d/b/a Kiki de
                                                                       Chapter 7
Montparnasse, and KIKI LV, LLC d/b/a Kiki
de Montparnasse,

                                          Debtors.



           STATEMENT OF COMPENSATION OF ATTORNEY FOR DEBTORS

         Chester B. Salomon, an attorney admitted to this Court, respectfully states:

1.       Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney
         for the above named debtors and that compensation paid to Becker, Glynn, Muffly,
         Chassin & Hosinski LLP (“Becker Glynn”) within one year before the filing of the
         petition in bankruptcy, or agreed to be paid to Becker Glynn or me, for services rendered
         or to be rendered on behalf of the above three debtors in contemplation of or in
         connection with the bankruptcy cases is as follows:

         For legal services for all three debtors, Becker Glynn has agreed to accept ....... $35,000

         Prior to the filing of this statement Becker Glynn has received .......................... $35,000

         Balance Due ................................................................................................................ $-0-

     2. The source of the compensation paid to Becker Glynn was:

        Debtor: Kiki Holdings LLC ($20,000) and Jon Rubin ($15,000). Becker Glynn has
received payment of $35,000.

     3. Becker Glynn and I have not agreed to share the above-disclosed compensation with any
        other person unless they are members and association of my firm.

     4. In return for the above-disclosed fee, Becker Glynn has agreed to render legal service for
        all aspects of the three bankruptcy cases, including:

         a. Analysis of the debtors’ financial situation, and rendering advice to the debtors in
            determining whether to file petitions in bankruptcy;

         b. Preparation and filing of any petitions, schedules, and statements of affairs which
            may be required; and
16-11314-mew           Doc 1    Filed 05/06/16 Entered 05/06/16 12:10:42           Main Document
                                            Pg 91 of 91



           c. Representation of the debtors at the meetings of creditors, and any adjourned
              meetings.

        Becker Glynn has entered into a separate retainer by Jon Rubin individually for personal
legal advice.


    5. The engagement of Becker Glynn by the debtors does not include representation of the
       debtors in adversary proceedings.


Dated: New York, NY
       May 6, 2016



                                                       /s/ Chester B. Salomon
                                                       Chester B. Salomon


                                          CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtors in this bankruptcy proceeding.


Date: May 6, 2016                               /s/ Chester B. Salomon
                                                       Signature of Attorney

                                                Becker, Glynn, Muffly, Chassin & Hosinski LLP
                                                       Name of law firm




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